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                 96 PAGES
            1    THOMAS A. WILLOUGHBY, State Bar No. 137597
                 LAUREN M. KAWANO, State Bar No. 309273
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                 e-mail: lkawano@ffwplaw.com
            6
                 Proposed Attorneys for Debtor in Possession
            7

            8                             UNITED STATES BANKRUPTCY COURT

            9                              EASTERN DISTRICT OF CALIFORNIA

           10                                     SACRAMENTO DIVISION

           11    In re:                                         CASE NO.: 20-24123-E-11
                                                                Chapter 11
           12    RUSSELL WAYNE LESTER, an
                 individual, dba Dixon Ridge Farms,             DCN: FWP-2
           13
                                  Debtor in Possession.         Date:      September 1, 2020
           14                                                   Time:      1:30 p.m.
                                                                Courtroom: 33 – Judge Ronald H. Sargis
           15                                                              501 I Street, 6th Floor
                                                                           Sacramento, CA
           16

           17

           18          EXHIBIT IN SUPPORT OF OMNIBUS DECLARATION OF RUSSELL WAYNE
                 LESTER, DECLARATION OF RUSSELL WAYNE LESTER, AND DECLARATION OF
           19     RUSSELL BURBANK IN SUPPORT OF DEBTOR IN POSSESSION’S EMERGENCY
                    MOTION FOR AN ORDER (A) AUTHORIZING INTERIM AND FINAL USE OF
           20           CASH COLLATERAL; (B) GRANTING REPLACEMENT LIENS; AND
                   (C) SCHEDULING FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001
           21

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                                                                                           EXHIBIT DOCUMENT ISO
                                                               -1-                      CASH COLLATERAL MOTION
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            1
                   Exhibit           Description                                                      Page
            2
                   A                 Putah Creek Road Property Google Image                           2
            3
                   B                 Gordon Property Sale Listing                                     4
            4
                   C                 August 28, 2020 Solano Land Trust Letter                         14
            5
                   D                 Putah Creek Road Property Valuation                              18
            6
                   E                 First Report of Receiver                                         20
            7
                   F                 Budget                                                           79
            8

            9
                 Dated: August 31, 2020
           10                                        FELDERSTEIN FITZGERALD
                                                     WILLOUGHBY PASCUZZI & RIOS LLP
           11

           12                                  By:    /s/ Thomas A. Willoughby
                                                       THOMAS A. WILLOUGHBY
           13                                          Proposed Attorneys for Russell Wayne Lester

           14

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                                                                                          EXHIBIT DOCUMENT ISO
                                                                -2-                    CASH COLLATERAL MOTION
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                 EXHIBIT A


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                 EXHIBIT B
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                 EXHIBIT C
                                   13
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       Board Members
                         Date: 08-28-2020
              Officers
        Gale D. Spears
                         Re: Conservation Easement Funding and Timeline to close on the McCune
             President       and Carrion properties
             Sue Frost
        Vice President   From: Tracy Ellison, Conservation Program Manager, Solano Land Trust
        Steve Pressley
             Treasurer   To: Whom is My Concern
       Carole Paterson
       Immediate Past    Solano Land Trust along with Kathleen and Russell Lester have entered an agreement to
             President
                         place the McCune and Carrion properties under an Agricultural Conservation Easement.
             Paul Lum
             Secretary
                         The funding for the purchase of the easement will come from two funders; the State of
             Directors   California at 75% and the United States of America at 25%.
         David Eimerl
   Deborah Durr Ferras
        Terry Huffman    Solano Land Trust has secured grant funds for the purchase of an Agricultural
       Curtis Stocking
        Monica Brown     Conservation Easement with the State of California through the Sustainable Agriculture
                         Lands Conservation program (SALC) in the amount of $4,275,000.00. The grant
                         agreement was finalized on 03-15-2020. See attached award letter.

                         Solano Land Trust has secured grant funds for the purchase of an Agricultural
                         Conservation Easement through the Agricultural Land Easement (ALE) program with the
                         United States of America through the Natural Resource Conservation Service (NRCS) for
                         matching funds to the above grant in the amount of $1,425,000.00. Solano Land Trust is
                         currently working with the NRCS to finalize the grant agreement. This can be supplied
                         once completed.

                         The total grant amount to purchase an Agricultural Conservation Easement on the
                         mentioned properties is $5,700,000.00

                         Timeline to close is expected June of 2021 pending any agency reviews and approvals.




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                   700 Main St, Ste 210, Suisun City, CA 94585 ● 707-432-0150 ● solanolandtrust.org ● Original art by Don Birrell
                                                                                                                                    14
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           If there are further, questions please contact Tracy Ellison, Conservation Program Manager and
           lead on this transaction. Email Tracy@solanolandtrust.org or
           Cell at 707-580-4263

           Sincerely,


           Tracy Ellison




                                                                                                        15
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                 EXHIBIT D


                                   17
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         Putah Creek Property                                                     Units
            Irrigation                                                             Acres          $/Unit           Value
                 Mainline & Pumps                                                       50 $       5,000.00   $    250,000.00
                 Solid Set                                                              50 $       3,500.00   $    175,000.00
           Trees                                                                        50 $       7,500.00   $    375,000.00

            Buildings                                                   Square Feet               $/Unit            Value
                House-Main                                                    2,500          $      165.00    $     412,500.00
                House-Back                                                    1,500          $      165.00    $     247,500.00
                Garage/Pool House                                             4,000          $      151.00    $     604,000.00
                Shop                                                          3,500          $       30.00    $     105,000.00
                Building #1/Office                                            5,000          $      125.00    $     625,000.00
                Freezer #1                                                      480          $       65.00    $      31,200.00
                Building #2, Sheller w/ 1700 sq ft Freezer                  10,110           $      105.00    $   1,061,550.00
                Building #3, Freezer                                        12,000           $      110.00    $   1,320,000.00
                Building #4, Freezer                                        12,000           $      103.50    $   1,242,000.00
                Building #5, Warehouse - Burned 10/2018 - Residual Ins. V   52,800           $         5.30   $     279,840.00
                Building #6, Warehouse Pad                                  12,000           $         7.50   $      90,000.00
                Building #7- Huller, Dryer, Shop                            63,600           $       45.00    $   2,862,000.00
                Building #8, Warehouse Concrete Pad                         25,920           $       25.00    $     648,000.00
                Building #9, Compost and Process Water Sump                 14,400           $         5.00   $      72,000.00
                Building #10, Fuel and Storage Gravel Pad                     8,000          $         7.50   $      60,000.00
                Paved Yard                                                  46,900           $       15.00    $     703,500.00
                Graveled Yard                                              388,700           $         7.50   $   2,915,250.00

                                                                                  Quantity        $/Unit           Value
                Pool and Yard                                                            1   $    80,000.00   $     80,000.00
                Site Electrical system                                                   1   $   490,928.00   $    490,928.00
                Site Water system                                                        1   $   400,000.00   $    400,000.00
                Utility Building for Electrical, Process Water Pump, Filter, So          1   $    45,000.00   $     45,000.00
                Process Water Pump, Filter, Softener and System                          1   $   325,000.00   $    325,000.00
                Fire system with 95,000 gallon Tank                                      1   $   631,153.78   $    631,153.78
                Shell Storage - 54' x 70' silo & 3 - 15' x 35' silos                     1   $   450,000.00   $    450,000.00
                Receiving Pit & Elevator                                                 1   $    35,000.00   $     35,000.00
                Truck Scale - 100 Ton                                                    1   $   125,000.00   $    125,000.00
         Total Putah Creek Property                                                                           $ 16,661,421.78



                                                                                    Acres   $/Unit                  Value
         Putah Creek Property - Land                                                   68 $ 25,000.00         $   1,700,000.00

         Total Putah Creek Property Value                                                                     $ 18,361,421.78




                                                                                                                        18
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                 EXHIBIT E


                                   19
Filed 08/31/20                                                             Case 20-24123                                        Doc 16




                            ICHzuSTOPHER E. SEYN4OUR, #126330
                             cseymour@gmlegal.net
                           2 GILMORE MAGNESS JANI SSE
                             Post Office Box 28907
                           3 Fresno, California 937 29 -89 07
                             Telephone: (559) 448-9800
                           4 Facsimile: (559) 448-9899

                           5    Attorneys for Donald G. Howell

                           6

                           7

                           8                                          SUPERIOR COURT OF CALIFORNIA

                           9                                                 COLINTY OF SOLANO

                         10

                         11     FIRST NORTHERN BANK OF DIXON,                             Case No. FCS054698

                         T2                             Plaintiff,                       FIRST REPORT OF RECEIVER
                         t3               V

                         t4 RUSSELL W. LESTER, an individual;
                            KATHLE,EN HAMROCK LESTER, AN
                         15 individual; RUSSELL W. LESTER, as
                            Trustee of the Lester Family Trust;
                         I6 KATHLEEN H. LESTER, as Trustee of
                            the Lester Family Trust; and DOES 1-100,
                         t7 inclusive
                         18                             Defendant.

                         T9

                        20                              Donald G. Howell, Court appointed receiver ("Receiver") for First Northern
                        2I Bank of Dixon ("Bank") v. Russell W. Lester an individual, Kathleen Hamrock Lester,                 an

                        22      individual, Russell W. Lester, as Trustee of the Lester Family Trust and Kathleen H.
                        23      Lester, as Trustee of the Lester Family Trust ("Lester"), respectfully submits the following

                        24      First Report of Receiver.
                        25               A.             Appointment and Qualification to Act.
                        26                              I was appointed Receiver in this matter on June 23,2020, which appointment
                        27      was confirmed on June 29,2020 (collectively, the "Order"). Pursuant to the Order, I was
                        28      to take possession of, manage, preserve and in some instances liquidate, inventory,
GILMORE MAGNESS JANISSE
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    POST OFFICE BOX 28907
FRESNO. CALIFORNIA 9]?29'890?   l2898-0003\s36l43   s
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                                                                     RECEIVER'S INITIAL INVENTORY AND REPORT
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                              I    equipment, inventory, accounts and other tangible and intangible property pledged as

                              2    collateral ("Collateral") by the defendants to First Northern Bank of Dixon ("Bank"), and
                              a
                              J    obtain all records relating to the Collateral ("Collateral Records"). Attached hereto as

                             4     Exhibit A is the Notice of Entry of Order Confirming Appointment of Receiver, to which
                              5    the ex parte and confirmation orders are attached (collectively, the o'Order"). Pursuant to

                             6     the Order, I retained Christopher Seymour of Gilmore Magness Janisse as receiver's

                             7     counsel, and the court has entered an order approving that retention.

                              8                            Pursuant to the Order, the Oath and Bond of the Receiver was filed with this

                             9     Court on June 19,2020, but convinced copies were not received from the Court. Attached
                           10      hereto as Exhibit B are copies of the Oath and Bond of the Receiver.

                           t1                 B.           The Dixqn Ridee Farms Operation and Nature of the Collateral

                           t2                              Lester operates a walnut growing and processing business in Dixon,

                           13      California. In addition to his own crop, Lester historically has contracted with other
                           t4 growers to purchase organic walnuts with the grower paid an in-shell price and Lester
                           15      assuming ownership. This is a typical arrangement between a grower and a processor.

                           t6 Lester markets and sells the processed product pursuant to wholesale contracts.
                           t7                              Lester maintains equipment ("Equipment Collateral") for use in his

                           18      processing and farming business. In total, Lester farms approximately 600 acres                of
                           l9 walnuts of various varieties, all certified organic. Walnut prices have dropped
                          20       significantly over the last 5 months, significantly affecting the marketability of the
                          2I Inventory,              as discussed    in Section E.1. below. As farming is not   a duty   I have under the
                          22       terms of the Order, I have informed Lester that I will not be conducting such activities, and

                          23       will not pay for labor and other expenses related to farming.
                          24                  C.           Narrative Report of Events
                          25                                Upon my appointment, I obtained a bond and, with my oath of receiver,
                          26
                                   submitted both for filing with the court through my counsel. Due to delays in return                 of
                          27
                                   conformed copies by the court, my initial activities were somewhat delayed, but I was able
                          28
GILMORE MACNESS JANISSE
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                                                                     RECEIVER'S INITIAL INVENTORY AND REPORT
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                               1    to open checking and savings accounts with United Security Bank on June 16,2020.I

                               2
                                    proceeded to obtain information from Lester regarding the nature and location of all
                               a
                               J
                                    Collateral, including the Collateral Records, and visited Dixon Ridge Farms to meet with
                               4
                                    Lester and others at the Defendants' business, Dixon Ridge Farms on the following dates
                               5

                               6    June 18,2020; July 3, 2020; July 8 and9,2020; July 15,2020; and July 22,2020. In my

                               7
                                    initial communications with Lester, I inquired specifically    as to the shelled and   in-shell
                               8
                                    walnut inventory, and current and prospective sale and grower contracts, and acquired
                               9
                                    information regarding the Dixon Farms processing operations and processing costs. We
                            10

                            11      also discussed the existence and location of Equipment Collateral and Collateral Records.

                            t2 Information and documents I requested were provided slowly, but             as   of July 22,2020,they
                            13
                                    have been provided.     I discovered the existence ofseven   separate bank accounts, three at
                            t4
                                    First Northern Bank of Dixon ("First Northern" or "Bank") and four at Bank of the West.
                            15

                            t6 Two of the accounts at First Northern are personal accounts,          as are the   four Bank of the

                            I7 West accounts. The remaining First Northern account is the business checking account for
                            18
                                    Dixon Ridge Farms. There have been transfers between the accounts and comingling of
                            t9
                                    funds in and among the personal accounts and the Dixon Ridge accounts. I received
                           20

                           2t complete copies of the bank statements for all three First Northern accounts and a
                           22       complete copy of the Check Register for the Dixon Ridge business account on July 22,
                           23
                                    2020. As of July 22,2020,I have identified atotal of $110,818.49 in funds thatare
                           24
                                    Collateral. $45,048.36 of these funds I received by money wire transfer on July 14, 2020
                           25

                           26       and the remaining $65,770.13 by money wire transfer on July 23,2020.           I am still
                           27       reviewing the accounts to ensure there are no remaining cash assets of the Receivership
                           28
GILMORE MAGNESS JANISSE
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    POST OFFTCE BOX 28907
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                                                              RECEIVER'S INITIAL INVENTORY AND REPORT
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                            1   Estate in the six personal accounts.              If I identiff any additional funds that belong to the
                           2
                                Receivership Estate, these funds           will   need to be wired to the Receiver's account.
                           a
                           J
                                                       Based on the initial inventory figures provided to me by Lester on July 3,
                           4

                           5
                                2020,I contacted processors and brokers experienced and knowledgeable in the walnut

                           6    industry to determine the marketability of Lester's walnut inventory, much of which is

                           7
                                quite old as discussed below. My estimate of the value of the inventory after processing
                           8
                                and other costs is attached hereto as Exhibit            D. I discovered during   the valuation process
                           9
                                and review of Dixon Ridge Farms' financial records that the actual value of the inventory
                         10

                         tl     was significantly less than what was provided to me by Lester in his inventory report.

                         t2 Lester valued the in-shell product at cost and the meat pounds product at cost plus the
                        13
                                $   1   .15 per net meat pound to process. His valuation was not a current market valuation
                        I4
                                based on the current market conditions and market price of the product sold to processors
                        15

                        t6      and wholesalers in large quantity. Rather, his estimate of value was based on stale internal

                        t7 sales prices applied to small ongoing future sales and he assumed the market would accept
                        18
                                2018 product. I estimate it would take 2.5 to 3.0 years to move the inventory. My
                        t9
                                estimate of value is based on current market conditions and prices per several
                        20

                        2l      conversations with industry processors, wholesalers, and brokers, and assumes bulk sale of

                       22       the inventory.
                       23
                                                       Lester has applied for, but has not received as of this date, funds from    a
                       24
                                USDA Coronavirus Food Assistance Program (CFAP) in the amount of $500,000. There
                       25

                       26       currently is a dispute between the Plaintiff and Defendants as to whether those funds                 will
                       27       constitute Collateral as defined in the pleadings and loan documents, which the parties are
                       28
GILMORE MAGNESS JANISSE
  A PRoHissprr\l- CoRR)R,ntoN
    POST OFFICE BOX 28907
FRESNO. CALIFORNIA 93729-8907   12898-0003\s36 143.5
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                                                                 RECEIVER'S INITIAL INVENTORY AND REPORT
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                               I    attempting to resolve. However, the parties, through counsel, have tentatively agreed that

                              2
                                    such funds        will be forwarded to me to hold in the receivership account pending resolution
                              J
                                    of the dispute.
                              4

                              5
                                               D.          Bank Accounts

                              6
                                               l.          First Northern Bank of Dixon

                                                           I have identified the following account, which Lester has represented is the
                              7
                                    only Dixon Ridge Farms account:
                              8

                              9
                                                           a.    Account No.xxx3033

                            10
                                                           I have identified the following accounts, which Lester has represented are
                                    personal accounts:
                            11

                            t2                             a.    Account No. xxxl336

                            13
                                                           b.    Account No. xxx4192

                            t4                 2.          Bank of the West

                            15
                                                           I have Identified the following accounts, which Lester has represented are
                                    personal accounts.
                            T6

                           t7                              a.    Account No. xxx9683

                           18
                                                           b.    Account No. xxx9691

                           I9                              c.    Account No. xxx9709

                           20
                                                           d.    Account No. xxx9725

                                                           As of this date, I have been provided a complete Quick Books check register
                           2t
                                    for the Account No. xxx3030, and bank statements for all seven accounts back to January
                           22
                                    1,2020.
                           23
                                                           On July 14,2020, Lester wired the amount of $45,048.36 to my receiver
                           24

                           25
                                    account from account no. xxx3033. On July 23,2020 Lester wired the amount                of

                           26       $65,770.13 from account no. xxx3033.

                           27

                          28
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                            I                 E.           Status of Inventory Collateral and Related Sales and Contracts

                           2                  1.           Walnut Inventory
                           a
                           J                               I have located and inspected the shelled and in-shell walnut inventory
                           4     ("Inventory Collateral"), with is stored in three freezers at the "home site." i.e., 5430 Putah
                           5     Creek Road in Winters, California. Based on my review of the loan documents, it is my

                           6     position, with which I understand the Bank and Lester concur, that Lester's 2020 crop does

                           7     not become Collateral until it is harvested.

                           8                               There currently are two contracts from buyers that remain unshipped with    a

                           9     value of $65,590.00. I have instructed Lester to wire those funds to the receivership

                         10      checking account when the product is transferred and the funds received.

                         11                                I have had several discussions with potential brokers and prospective buyers
                         t2 regarding sale of the Inventory Collateral. I have engaged the services of a broker, Mr.
                         13      Mike McMillian of Lone Tree Almond and Walnut, to market the Inventory Collateral,
                         l4      and am in separate discussions with potential buyers of the Inventory Collateral. One

                         15      hundred percent of the inventory is organic. As reflected in Exhibit D, a large portion            of
                         t6 the inventory is over l8 months old, and may be extremely difficult, or virtually
                         T7      impossible, to sell. Per information provided by Lester as of June ,30, 2020 and updated                as

                         18      of July 1,2020, the walnut inventory consists of 1,812,000 pounds of 2018 meats,
                         t9      1,991,876 pounds of 2019 in-shell, and              1Il,l07   pounds of 2019 meats. I have visually

                        20       inspected the Inventory and confirmed the accuracy of this information. I also have the

                        2l complete inventory on a bin-by-bin basis. Historically, organic product commands a
                        22       premium price of at least $.30 per in-shell pound. Due to a myriad of issues, including (A)

                        23       a significant expansion of domestic growth in the production of organic walnuts, (B) a

                        24       current glut on the market caused by (1) the Coronavirus, (2) competition from other

                        25       countries, and (3) a very large carryover of the 2019 crop (industry wide inventory

                        26       domestically), and (C) the expectation of a record or near record crop in 2020, the market
                        27       price for all walnuts has dropped dramatically and the current market value of organic

                        28       walnuts is the same or slightly above non-organic. Although I have not conducted               a
GILMORE MAGNESS JANISSE
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                                                                     RECEIVER'S INITIAL INVENTORY AND REPORT
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                                    I    formal appraisal of the Inventory, my estimation of the current market value for the
                                2       Inventory is attached as Exhibit          D. If sold at my estimated      current market value, the
                                a
                                J       estimated total value of the Inventory is approximately 53,759,737, and assumes there are

                                4       no quality issues with the 2018 walnut meats, and most importantly assumes there are no

                                5       market barriers resulting in an absolute refusal of the potential buyers to purchase the 2018

                                6       product because of its age. Any barrier to sale of the 201 8 meats due to market refusal,

                                7       USDA tests indicating a deterioration of the product, or a continued loss of market value
                                8       due to external pressures may result in a much lower than estimated price received. Once

                               9        sale agreements have been negotiated, I            will apply to the court for approval of the sales.
                             10         No sales will occur prior to the July 29,2020 status hearing, absent approval by the court
                             11         on shortened notice. It should be noted that the current walnut market is in a state of flux,

                             t2 and the market values represented are subject to change, possibly significant,                       as   time goes
                             l3 on
                             I4                               In addition to Lester's prior crop years, Lester has stated his intent to harvest
                             15         and store his 2020 crop, which, based on my review of the Bank loan documents, becomes

                             T6         Inventory Collateral at the time it is harvested. Lester has represented to me he is farming
                            t7 using non-Collateral funds. As I did not have the full accounting information I requested
                            18          until July 22,2020,I have not completed my review of the use of cash to determine
                            t9 whether any Collateral has been used for farming. I am not involved in the farming
                            20          aspects of Lester's business, as        it is not within my duties set forth in the Order. However,
                           2l           at this time, Lester is nearing his storage capacity, and           if he exceeds it, he would    need to

                           22           rent additional space for storage        if some or all of the prior years' inventory     is not sold
                           23           before the 2020 harvest         - his meat freezers are filled wall-to-wall     with inventory and his
                           24           in-shell storage capacity may not be sufficient if the 2020 crop exceeds expectations. In
                           25           my opinion, there is little or no profit to be made by Lester in harvesting and processing
                           26           the 2020 crop based on his estimated harvesting, processing and storage costs, and the

                           27           current market for the product.         If   harvested,   I intend to sell the 2020 crop, to a processor
                           28           through a typical grower contract. I believe the 2020 production will average between
CILMORE MACNESS JANISSE
  A PRolLssx )!,\t- CoRtoR,\Tro.-
    POST OFFICE BOX 28907

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                                                                        RECEIVER'S INITIAL INVENTORY AND REPORT
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                                   I   3,000 and 4,000 pounds per acre on the producing 450 +l- acres. I believe 2020 prices to

                                   2   the grower (i.e., the Receivership Estate)             will      average $0.80 to $0.90 per in-shell pound
                                   a
                                   J   based on current market conditions and the varietal mix of the orchards.

                                   4              2.         Hay Inventorlz
                                   5                         Lester harvested a "volunteer" grass/oathay crop produced on open ground,

                                   6   now fallowed. There are no farming costs associated with this crop. The crop consists of
                                   7   TS4bigbales of oatlgrass hay mix estimated to weigh a combined 400 tons. The hay was
                                   8   sold by contract at the end of May,2020 toPozzi Hay. The sale price for 277 of the 400

                                   9   tons is $60/ton ($16,620.00). The sale price for the remaining 23 tons is $70lton

                               10      ($8,610.00). Payment of the total sale price of $25,230.00 is expected to be received by

                               11      August 15,2020, with payment to be made directly to the Receiver.
                               l2                F.          Status of Eo              Collateral

                               13                            I have viewed and inventoried the Defendants' equipment, which is pledged
                               T4      as Collateral under the loan agreement ("Equipment Collateral"). An inventory of the

                               15      Equipment Collateral provided by Defendants and confirmed by me by visual inspection,
                               l6 is attached hereto as part of Exhibit C. According to Defendants, certain equipment was
                               t7 destroyed by fire on October 1I,2017. An insurance claim has been filed and partial
                               18      payments were received prior to my appointment. I am currently corresponding with the

                              t9 insurance company to determine what issues are as of yet unresolved. There is a dispute
                              20       between Lester and the Zenith Insurance Company as to the value of some of the

                              2T       equipment, the building, and the loss of some personal property. I have notified Lester that

                              22       any and all insurance claim proceeds are apart of the Bank's Collateral. The equipment

                             23        has not been appraised, although the Bank sent its own appraiser to the home site this

                             24        week. The Equipment Collateral will be sold pursuant to the IJCC as specified in the
                             25        Order, or as otherwise agreed. No Equipment Inventory will be sold prior to the July 29,

                             26        2020 status hearing, absent approval by the court on shortened notice.

                             27                 G.                          Estate F

                             28                              Other than the twenty dollars I provided out of pocket to open the accounts
CILMORE MACNESS JANISSE
  A PRot [ss()N,\l- ConmR.\T()"-
    POST OFFICE BOX 28907

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FRESNO. CALIFORNIA 93729-8907          2898-0003\536 143.s
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                                                                       RECEIVER'S INITIAL INVENTORY AND REPORT
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                                1    and later to cover Bank fees, and the transfer of funds from Lester's Account No. 3033 in

                            2       the total atnount of $110,818.49, there have been no transfers in or out of the receivership
                            a
                            J        accounts.

                            4                  H.          Insurance

                            5                              I eventually obtained on July 15,2020, the necessary information regarding
                            6       Lester's insurance policies and Lester's insurance broker to be added as a named insured

                            7       on the following policies: Travelers

                            8                              a.    7001N500159-TCT-20 $l2,500,000PersonalFarmProperty
                            9                              b.    EX-1N52956A-20-93 $6,000,000AggregateLiability
                          10        II.        Miscellaneous Matters

                          11                   A.          Inventory
                          t2                               The Receiver's First Inventory of Property was served and submitted for

                          13        filing on July 21,2020.
                         t4                    B.          Farming

                         15                                As discussed above, the Order does not include farming   as   part of my duties.
                         t6 There have been communications between myself, the Bank and Lester regarding farming
                         t7 issues, but as of this report, no party has sought to amend the Order to include any farming
                         t8 activity by the Receiver, nor use of any Collateral for that purpose.
                         t9                    C.          Contacts bv Lester's Loan Broker/Advisor

                         20                                On July 16 2020,I was contacted by telephone by BizCap, which I

                         2t understand is in the process of attempting to find refinancing on behalf of Lester. I
                        22          initially agreed to speak with BizCap upon the approval of Lester, but I became concerned
                        23          that my communications with BizCap would be outside of my authority and duties under

                        24          the Order. Because of that concern, I asked my counsel to request in writing the

                        25          informationBizCap intended to discuss with me. Copies of the correspondence between
                        26          my counsel and Lester's counsel, setting forth the subjects on which I was requested to
                        27          discuss and my refusal to do so, are attached collectively as Exhibit E. I do not believe

                        28          discussions with BizCap regarding the subjects listed in Lester's counsel's e-mail are
CILMORE MACNESS JANISSE
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                                                                       RECEIVER'S INITIAL INVENTORY AND REPORT
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                            1    authorized under the Order, for the reasons set forth in my counsel's e-mail of July 21,

                           2     2020, and would put me into the position of being a consultant to Lester and BizCap,
                           a
                           J    which conflicts with my duties and obligations as Receiver.

                          4     III.       Receiver's Fees and Expenses

                           5                           Receiver's fees and expenses for the receivership for June 9, 2020 through
                          6      July 23,2020 are$32,498.37, including Receivers fees and costs of $17,436.37 and

                          7     attorney fees and costs of $17,882.48. I         will submit my fees and expenses to the parties
                          8     pursuant to the Order following the close of my July 2020 billing              d

                          9

                        10      Dated: July11, 2020
                                                                                         Donald G. H
                        11
                                                                                         COURT APPOINTED RECEIVER
                        T2

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GILMORE MAGNESS JANISSE
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Filed 08/31/20      Case 20-24123        Doc 16




                 EXI{IBIT A
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                 DOUGLAS H. KRAFT, ESQ.(State BarNo. 155127)
           t
                 JOHN C. McCASLIN, ESQ. (State BarNo. 204983)
           2     KRAFT LAW
                 11335 Gold Express Drive, Suite 125
           3     Gold River, California 95670
                 Telephone: (916) 880-3040
           4
                 Facsimile: (916) 880-3045
           5
                 Attorneys for First Northem Bank of Dixon
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           7


           8                    IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA,
           9
                                             IN AND FOR THE COUNTY OF SOLANO
          10

          LL                                                       CASENO. FCSO54698
                 FIRST NORTHERN BANK OF DIXON,
          t2                                                       NOTICE OX' ENTRY OF' ORDER
                                Plaintiff,
          L3
                 vs.
          L4
                 RUSSELL W. LESTER, an individual; et al.,
          L5

                                 Defendants.
          16

          L7     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
          18              PLEASE TAKE NOTICE that on 1une29,2020,2020,the above entitled court entered

          19     AN    ORDER CONFIRMING APPOINTMENT OF RECEIVER AND PRELIMINARY

          30     INJLINCTION. A true and corrept copy of the Order is attached hereto   as   Exhibit A.

          2t              PLEASE TAKE NOTICE that the Court also ordered the parties to appear on July 29,

          22     2020, at t:30 p.m. in departmerrtzz,58O Texas Street, Fairfield, CA94533, for a Status Hearing

          aa     Dated:   Jrne29,2D20          KRAFT LAW


          25                                   By
                                                                 H. KRAFT, ESQ.
           26                                         Attomeys for Plaintiff First Northern Bank of Dixon
           21

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                                                                                                 Notice of Entry of


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          26     EXHIBIT A
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                                 Notice of Entry of Orde


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Filed 08/31/20                                         Case 20-24123                                                            Doc 16




                  DOUGLAS H. KRAFT, ESQ. (State RarNo. 155127)
                                                                                                  NDONSED
             1
                                                                                              the Sirperior Courl
                  JOHN C. MoCASLIN, ESQ. (State Bar No. 204983)
             2    KRAFT LAW                                                                JUN 29       2020
                  11335 Gold Express Drive, Suite 125
             3    Gold River, California 95670                                     By
                                                                                                      CLEBK
                  Telephone: (916) 880-3040
             4
                  Facsimile: (916) 880-3045

                  Attorneys for First Northern Bank of Dixon
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             o                    IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA,
              o
                                               IN AND FOR THE COUNTY OF SOLANO
            1.0


            11                                                       CASE NO. FCS054698
                  FIRST NORTHERN BANK OF DIXON,
            t2
                                  Plaintiff,                         IPng(J)ry/[{ oRDER CONFIRMING
            13                                                       APPOINTMENT' OF RECEIVER AND
                  VS                                                 PRELIMINARY INJUNCTION
            14
                  RUSSELL W. LESTER, an individual;                  Date:          lune29,2020
            15                                                                      l0:00 a.m.
                  KATI-ILEEN HAMROCK LESTER, AN                      Time:
                  individual; RUSSELL W. LESTER, as                  Dept:          22
            16                                                                      580 Texas St.
                  Trustee of the Lester Family Trust;                Location
                                                                                    Fairfield, CA94533
            t'1   KATHLEEN H. LESTER, as Trustee of the              Judge:         Hon. Alesia F. Jones
                  Lester Family Trust; and DOES l-100,
            l_8
                  inclusive,
            L9
                                  Defendants
            2tJ


            2l             WHEREAS, on June 12,2020, at 1:30 p.m., in Department 22 of the above entitled court
            22    (the   "Court") Plaintiff FIRSTNORTHERN BANK OF DIXON ("Lender"               or   "Plaintiff')   made

                  its Ex Parte Application for Order Appoint Receiver, Temporary Restraining Order and Order to
            24
                  Show Cause (the "Application"), before the Honorable Aleisa F. Jones, presiding; and
            25             WHEREAS, at the ex parte hearing the Court issued its Order Appointing Receiver,
            zb
                  Temporary Restraining Order and Order to Show Cause (the "Receiver Order") appointing
            27    Donald G. Howell (the "Receiver") as receiver over certain personal properly of Defendant
            28



                                                                                Order Appointing ofReceiver, TRO and




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             1    RUSSELL W. LESTER ("Mr.Lestero') identified in the Receiver Order as the Collateral                 and

              ,   Collateral Records. A true and correct copy of the Receiver Order is attached hereto as Exhibit

              3   A;
              4             WHEREAS, Plaintiff has filed with the Court an injunction bond pursuant to Califomia

                  Code of Civil Procedure Section 529 in the amount of    $I   0,000.00, as required by the Receiver

              6   Order;
             'l             WHEREAS, Plaintiff has filed with the Court an ex parte application bond pursuantto

              8   California Code of Civil Procedure Section 566(b) in the amount of $10,000.00;
              9             WHEREAS, the Receiver has filed with the Court his Oath, as required pursuant to

            10    California Code of Civil Procedure Section 567, andas required by the Receiver Order;
            11              WHEREAS, the Receiver has filed with the Court his undertaking, as required pursuant

            T2    to California Code of Civil Procedure Section 567, in the amount of $10,000.00, as required by

            13    the Receiver Order;

            1.4             WHEREAS, pursuant to the Receiver Order, the defendants were ordered to appear on

            I5    June 29,2020, at l0:00 a.m. (the   "Confirmation Hearing'), in Department 22 of the Court
            16    before the Honorable Alesia F. Jones, and show cause,   if any, why appointment of the Receiver
            I7    should;

            L8              WHEREAS, Douglas H. Kraft, Esq., of Kraft Law appeared on behalf of Plaintiff, First

            19    Northern Bank of Dixon and Andrew L. Collier, of Downey Brand, LLP, appeared on behalf of

            2t)   thc Defeltdant Mr. Lestcr and Dcfcndant KATHLEEN HAMROCK LESTER ("Mrs. Lestoy'');

            2L    and

            22              WHEREAS, the Court have considered the Opposition to Conformation of Receiver and

            23    Preliminary Injunction and pleading filed in support thereof (the "Opposition'), filed by

            24    Defendants Mr. Lester and Mrs. Lester, and the Reply to Opposition to Confirmation           of
            ZJ    and Preliminary Injunction and pleadings filed in support thereof (the    "Reply") filed by Pl

            26    First Northern Bank of Dixon, and having considered the arguments put forth at the

            27    Confirmation Hearing.

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                                                                                    Order Appointing of Receiver, TRO and




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             L            NOW, good cause appearing therefore, the Court hereby orders as follows:

             2     IT IS ORDERED TFIAT:

             3             l.      The Receiver Order is hereby confirmed. Donald G. Howell is confirmed as

             4     receiver over the Collateral and Collateral Records, as described in the Receiver Order.

             5            2.       IT IS FURTHER ORDERED thAt              DCfENdANt RUSSELL W. LESTER, AN

              6    individual, and Defendant KATHLEEN HAMROCK LESTER, an individual (together,
             1     "Borrower",   and each a   "Borrower"), and all agents and employees of Borrower (the
             B
                   ,,Enjoined Defendants" and each an'oEnjoined Defendant") and each of them, and each of

             9     their agents, servants, directors, officers, affiliates, employees, attorneys, representatives, family

           10      members, and all other persons and entities who are successors in interest to or who are acting in

           1- 1"   concert or participating with them, or any of them, are hereby restrained and enjoined from
           'J.2    engaging in or performing, directly or indirectly, any of the following acts:

           13                      a.   retaining possession of the Collateral or the Collateral Records;

           T4                      b.   expending, disbursing, transferringn assigning, selling, conveying, devising,

           15                           pledging, mortgaging, consigning, creating a security interest in,

           16                           encumbering, concealing or in any manner whatsoever delaying in or

           I7                           disposing of the whole or any part of the Collateral or Collateral Records,

           18                           without the written consent of the Receiver first being obtained;

           19                      c.   demanding, collecting, receiving, expending, disposing, assigning, secreting

           20                           or in any other way diverting, usilrg ul ruakiug uuavailable to the Rcccivcr 0n)

           21"                          of the Collateral or Collateral Records, or any of the issues and proceeds

           22                           thereof;

           23                      d.   doing any act which will, or which will tend to, impair, defeat, divert, prevent

           24                           or prejudioe the preservation of the Collateral or Collateral Records, or

           25                           Reoeiver's interest therein, in whatever form the interest is held or used as of

           26                           this date, pending further proceedings in this action;

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                                                                                      Order Appointing of Receiver, TRO and OS(




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            1                   e.   destroying, concealing, transferring or failing to preserve any document that

            2                        evidences, reflects or pertains to the Collateral or Collateral Records, or any

             3                       part thereof;

             4                  f.   committing or permitting any waste of the Collateral or Collateral Records, or
             E                       any part thereof, or suffering, committing or permitting any acts thereon in

             6                       violation of law;

             7                  g.   removing, transferring, encumbering or otherwise disposing of the Collateral

             o                       or Collateral Records, until further order of this Court; or

             9                  h.   interfering in any manner with the Collateral or Collateral Records, or

            10                       Receiver's possession thereof, including, without limitation, communicating

            11                       or contacting any contractees of the Receivern exercising or attempting to

            t2                       exercise any control or management of functions in connection with the

            13                       Collateral or Collateral Records, or othetwise engaging in acts inconsistent

            l4                       with the Receiver's sole authority to operate, manage and control the

            L5                       Collateral or Collateral Records.

            16          3.      IT IS FURTHER ORDERED that the Enjoined Defendants shall immediately
            17   notify Receiver of the location of the inventory, equipment, and Collateral Records of Borrower,
            18   and immediately assemble all inventory, equipment, and Collateral Records, and shall allow the

            T9   Receiver to take immediate possession of all inventory, equipment, and Collateral Records, and

            20   enter t;ntu Bul,ower''s trusiness prcmiscs for the purpose6 of doing so.

            2t          4.      IT IS FURTHER ORDERED that the Enjoined Defendants provide the Receiver

            22   within 24 hours of the Receiver's request all information and documentation required by any
                 bank or other financial institution to open or maintain any accounts as provided under this
                                                                                                             Order.
            23

            24          5.      IT IS FURTHER ORDERED that the Enjoined Defendants shall hold in trust                 and


            z3   surrender to the Receiver all monies accountable to the revenueso issues and proceeds
                                                                                                       of the

                                                                                                           control
            26   Collateral whether generated from the past or present, now in the possession, custody and

            27   of Enjoined Defendants, or their agents, servants or employees, and all records, books
                                                                                                               of
                                                                                                         and
            2B   account, ledgers, and all documents and papers pertaining to the operation, maintenance

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                                                                                   Order Appointing of Receiver, TRO and OS(




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             1    proceeds of the Collateral, whether in the possession and control of the Enjoined Defendants or

             2    in the possession and control of agents, servants or employees of the Enjoined Defendants.

             3           6.       IT IS FURTHER ORDERED that the Enjoined Defendants shall have no further
             4    contact with account debtors regarding collection of the accounts without express written
             q
                  instruotions from the Receiver.

             6           7.       IT IS FIJRTHER ORDERED that the Receiver and the parties to this action            may,

             7    from time to time and upon due notice to the parties entitled thereto, petition this Court for
             I    instructions in pursuance of this order and further orders this Court may hereafter make.

             9    IT IS SO ORDERED.

            10

            11    DATED:
                              (!-                                         lllnr"
            t2                                                      ruDGE   f,Jr"u SUPERIOR COURT
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            27     EXHIBIT A
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                                   Order Appointing of Receiver, TRO and OSC




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                  l.
                       DOUGLAS H. KRAFT, ESQ. (State Bar No. 155127)                              20,r.0.lUl.l    l? p l,       lq
                       JOHN C. MoCASLIN, ESQ, (State BarNo.204983)
                  2    KRAFT LAW
                       I 1335 Gold Express Drive, Suite 125                                                               !:;
                  3    Gold River, California 95670
                       Telephone: (91 6) 8E0-3040
                  4
                       Facsimile: (916) 880-3045
                  q

                       Attorneys for First Nofthern Bank of Dixon
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                  8                      IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA,
                  9
                                                     IN AND FOR THE COUNTY OF SOLANO
                 10

                 11
                       FIRSTNORTHERN BANK OF DIXON,                           cAsENO. FCS054698
                 !2
                                         Plaintiff                            IPR0nO6WDI ORDDR APPOINTTNG
                 13                                                           RECEIVER, TEMPORARY
                       vs.                                                    RESTRAINING ORDTR AND ORDER
                 14                                                           TO SHOW CAUSE
                       RUSSELL W. LESTER, an individual;                                                                                      g
                 15                                                                                                                               c
                       KATHLEEN HAMROCK LESTER, an                            Date:              June 12,2020                   E
                                                                                                                           at-SPo             e   -   t
                       individual; RUSSELL W. LESTER, as                      Time:              l:30 p.m.                                            v
                 r6
                       Trustee of the Lester Farnily Trust;                   Dept:           22                            bg
                                                                                                                           .s
                                                                              Location:       580 Texas St.                E9E
                 !7    KATHLEEN H. LESTER, as Trustee of the                                                               l9to
                 18
                       Lester Family Trust; and DOES l-100,                   Judge:
                                                                                                 Fairfield, CA 94533
                                                                                                 Hon. Alesia F. Jones .!r  5tg
                                                                                                                            >c.
                       inclusive,                                                                                           aD o:-
                                                                                                                           .EQo
                 19
                                        Defendants.
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                                                                                                                           #EE                t
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                                                                                                                                b             E
                 a1
                               The Court having considersd the Ex Parte Application of PlaintiffFIRSTNORTHERN
                 22
                       BANK OF DIXON ("Lender" or "Plaintiff') for Order Appoint Receiver, Temporary
                 23    Restraining Order and Order to Show Cause (the "Application') and the pleadings filed in
                 24    support thereof (the   "supporting Pleadings") and the Court having determined that good cause
                 25
                       exists for the appointment of a receiver, and that Plaintiff is entitled to appointment of a receiver
                 26    as a matter   of law, and that Donald C. Howell, an individual (hereafter referred to as
                 27
                       "Receiver'), is qualified to aot as receiver in this action:
                 2g



                                                                                          Order Appointlng ofReceiver, TRO and




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                  1           I   .   IT lS ORDERED that Donald G. Howell be, and hereby is, appointed receiver of
                  ,   and over all of the   following property of defendant RUSSELL W. LESTER ("Mr. Lester'):
                  3                   a. All of Mr, Lester's         inventory, chattel paper, accounts, accounts receivable,

                  4                         equipment, general intangibles, crops (when severed from the land) fann

                  5                         eqr.riprnent and contracts, including payrnents under any governmental

                  6                         agricultural   di   versiorr pro grams, governmental agricultuml    assi   stance

                                            proglams, the Fanl Services Agency Wheat Feed Grain Program, and any

                  I                         other such program of the United States Department of Agriculture, or any

                  9                         other general intangibles or programs; v"hether any of the foregoing is owned

                 10                         now or acquited later; all accessions, additions, replacements, and

                 1L                         substitutions relating to any of the foregoing; all pt'oceeds relating to any of

                 t2                         the foregoing (including insurance, general intangibles and otlrer accounts

                 13                         proceeds)" (the "Collateral"), together with all records and data lelating to

                 L4                         any of the Collateml, whether in the fbrrn of a writirrg, photograph, microfilnr,

                 15                         microfiche, or electronic rnedia, together with all of Orantor's rigltt, title,      and

                 16                         interest in and to all computer software rcquired to utilize, create, maintain,

                 17                         and process any suclr records or data on electlonic media (collectively, the

                 18                         "Collateral Rccords").
                 L9          2.       IT IS FURTHER ORDERED that, upon Plaintifffiling an injunction bond

                 20   pursuant to Code of Civil Procedure section 529 in the amount of $ 10,000,00 and an ex-pafte

                 2t   applicatiorr bond pursuant to Code of Civil Procedure section 566 in the amount of $10,000.00,

                 22   and upon the Receiver's     filing of an undertaking under Code of Civil Prcsedure section            567 in

                 2t   the amount of $10,000.00 and the taking of his oath, the Receiver be vested with all of the

                 24   powers and authority provided by law to rcceivers subject to the further confimration and order

                 25   of the Court. In addition, the Receiver shall have the following powers and responsibilities:

                 26                   a.   After so qualifying, said Receiver slrall take possession of the Collateral          and

                 27                        all rents, issues, profits and income generated therefrom. Without limiting the

                 28                        generality of the foregoing, the Receiver is authorized to enter into all real

                                                                              z
                                                                                             Order Appointing ofReceiver, TRO and OS('




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                  I        plopefty owned or leased by Mr. Lester, including without limitation,             and

                  2        upon which any Collateral is or may be located (collectively, the "Real

                  3        Property"), including but not limited to replacing or changing locks           and

                  4        codes as may be uecessary for such put?ose in the Receiver's ttasonable

                  5        discretion.

                  6   b.   To sell, lease, transfer, or otherwise deal with the Collateral on behalf of

                  7        Lender in accordance with Califomia Cornmercial Code ("UCC") $9610 and

                  I        the terms of the Agricultr.rral Security Agreement dated December 31, 2018,

                  9        and the Agricultural Security Agreement dated June 16, 201 9, each executed

                 10        by Mr. Lester in favor of Lender (the "Security Agreements'), and to

                 11        otherwise exercise all rights and remedies of Lender under the UCC relating

                 L2        to the disposition of the Collateral, irrcluding the rights to collect and enforce

                 13        accounts and general intangibles in accordance with UCC $9607.

                 14   c.   Tlre Receiver shall care for, prcserve and maintain the Collateral and ittcur the

                 15        expenses necessary in suoh care. preservation and maintenancc, and monies

                 16        conring into the possession ofthe Receiver pursuant hereto and not expended

                 L1        for any of the purposes herein authorized shall be     he   ld by the Receiver,

                 18        subject to such orders as this Court may hereinafter issue as to its disposhion.

                 19   d.   The Receiver on his taking possession of the Collateral shall determine

                 20        whether Or not there is sufficient insru'ance coverage thereott.      lf sufficient
                 2L        insurance coverage does exist, the Receivcr shall direct the insurer (and all

                 22        defendants shall cooperate with the Receiver's efforts) to add the Receiver             as


                 23        an additional insured on suclr policy for the period that the receivership ertut"            ]

                                                                                                                        l


                 24        shall be in possession of the Collateral.   lf sufficient insurance coverage does            i




                 25        not exist. the Receiver shall notify all parlies to this action, arrd it is hereby

                 26        ordered that the Receiver shall have thi$y (30) days to plocule sufficient all'

                 27        risk and liability insurance, excluding eartlrquake and flood insumnce;

                 28        provided, however, that, if Receiver does not have funds available to do          so,


                                                           3
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                      1                        Receiver slrall seek instructions from this Court with regard to whether

                      2                        insurance shall be obtained and how it is to be paid.    lf consistent with
                      3                        existing law, Receivel shall not be responsible for any actions, clainrs,      costs,

                      4                        expenses, damages, liabilities, obligations, r.esponsibilities, includirrg any

                      5                        reasonable attorneys' fees and disbursements, in any way arising out of,

                      5                        corulected to or related to Receiver's inability to obtain or procure insurance.

                      ?                  e.   The Receiver may, in his discretion, take possession and control of all        recorcls

                      8                       correspondence, general ledgers, cash receiptsjournals, books, and all deposit

                  9                           accounts which relate or refer to or that discuss the nraintenance or proceeds

                 10                           of the Collateral, whether in possession and confiol of any or all of the

                 tl.                          defendants, or their agents, servants, or enrployecs,

                 !2                      f.   The Receiver may receive, open, and dispose of all mail addressed to the Mr.

                 13                           Lester and Dixon Ridge Farnrs and shall notify tlre post office authorities to

                 14                           change the address for delivery of mail addressed to the Mr, Lester and Dixon

                 L5                           Ridge Fanr,s to such address as the Receiv€r may designate.

                 x6                      g.   The Receiver may conduct appropriate marketing and other activities in oder

                 L7                           to identify and obtain appropriate purchasers, selling agents, commission
                 18                           merchants, auctioneers or consignees for all or any poltion of the Collatsl'al.

                 L9                           The ReceiveL may also, without prior court order, extend or modify, any

                 20                           leases of any portion of the real property on which Collateral is or may be

                 2l                           located, on such tcrms the Receiver in his discretion deems best to protect

                 22                           Plaintiffs security under the Security Agreement.
                 23                      h. The Receiver is empowered       to establish accounts at such banks or financial

                 24                           institutions, the accourrts of which are insured by the Federal Deposit

                 25                           Insurance Corporation, as the Receiver deems reasonably ploper, and to

                 26                           deposit all monies that come into his possession into such accounts.

                 27              3.      IT IS FURTHER ORDERED that, in addition to the power to sell,             leasen consign,

                 2a       transfer, or ollrerwise deal with the Collateral on behalFof Lender in accordance with UCC          $


                                                                             4
                                                                                            Order Appointing ofReceiver, TRO and OS(




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                  1   9610 and the terms of the Security Agreernents, the Receiver may conduct sales of any of the

                  2   Collateral or portions thereof outside the ordinary course of business in compliance with

                  3   California Code of Civil Procedure $568.5.

                  4            4.      IT IS FURTHER ORDERED that all defendants,          as   well   as all persons claiming

                  5   possession or other rights by, through, or under them, must, on request and exhibition of a

                  6   conformecl cop1, of this Order, immediately deliver possession of any propefty described helein

                  7   to the Receiver, along with all accounting, maintenance, reut, deposit accounts, safe deposit box

                  8   contents, checks, drafts, any other negotiable instrunrents or deposits, and related lecords

                  9   concerrring tlre Collateral.

                 10            5.      IT lS FURTHER ORDERED that, upon presentation of a conformed copy ofthis
                 1l   order to any third party, including but not limited to banks or depositories owitrg performance         of
                 TZ   any obligation or duty to the delbndants with rcspect to the Collateral, such third parties shall

                 13   render any performance or duties. with respect to the Collateral directly to the Receiver.

                 14            6.      IT IS FURTHER ORDERED that the Receiver may us6 the federal taxpayer
                 L5   identification number of any deferrdant in connection with any powers exercised pursuant to this

                 16   Order. The Receiver shall have no responsibility for filing any federal or state tax returns       on

                 L7   behalf of any defendant. The responsibility for filing federal or state tax returns shall lie

                 18   exclusively with defendants.

                 l9            7.      lT lS FURTHER ORDERED that the Receiver          is authorized to assume, extend, or

                 20   modify any pre-receivership contracts relating to the Collateral and/or reject such contracts in the
                 2L   Rece   iver's sole judgment and discretion.

                 22            8.      IT IS FURTHER ORDERED that the Receiver shall hold all monies coming into
                 23   his possession in an interest-bearing account to be expended for the following purposes and in

                 24   the following priorities:

                 25                    a, for all cxpenses incurred by the Receiver in managing the Collateral;
                 26                    b. for the expenses of administering the receivership, including, but not limited
                 21                       to attorneys' fees and costs to be paid rnonthly by the Receiver fronr such

                 28                       funds as are in his possession, put'suant to paragraph 15, below;

                                                                        5
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                       I                      c.   for interinr Receiver's fees to be paid monthly and to      be paid by the Receiver

                       2                           ft'om such funds as are in his possession, at the Receiver's normal and

                       3                           customary rate, pursuant to paragraph l5, below;

                       4                     d.    the payment of arry rernaining funds to Plaintiff in respect of the obligations

                       5                           alleged in the complaint her.ein.

                       5              9.     IT IS FtJI{THER ORDERED that, in addition to all powers herein above                 ser

                      7     forth, the Receiver is sltall be and is hereby authorized to borrorv money from Plaintiff, without
                      I    further Order of this Couft, up to Seventy-Five Thousand and No/I00 Dollars ($75,000.00),                    as

                      9    needed, to carry out any of the duties set forth in this Ordel'.      'lhe borrowing of such furrds        shall

                 10        be upon such terms and conditions acceptable to the Receiveq in the Receiver's sole and

                 11        absolute discretion, provided that the interest rate charged on such funds shall be at the highest

                 r2        non-default rate allowed under the pronrissory notes (the o'Notes") evidencing the loans secured
                 1.3       by the Security Agreemcnts (the       "Loan"). Any       such advances by Plaintiff to the Receiver shall

                 14        be deemed to be secured advances, to be added to the indebtedness secured by the Security

                 t5        Agreemettts, and the security interests sreated by the Security Agreerlerrts shall retain their lien

                 15        priority   as to the entire indebtedness, including said advances, notwithstanding the fact thar said

                 17        advances shall increase the indebtedness secured by the Security Agreements. The Receiver is

                 18        further authorized to issue a Receiver's Certificate of Indebtedness to evidence the obligation of

                 19        the Receivership estate (and not the Receiver individually) to repay such sums borrowed from

                 20        Plaintiffas may    be necessary to satisfy the costs and expenses     of the Receivership; tlre principal
                 2)_       sum of each Certificate. together with interest thereon at the highcst non-default rate specified in

                 22        the Note, shall be payable out    of the next available rcnt, issues, pnrfits or proceeds atftibutable to
                 23        the Collateral or fronr the proceeds from the sale of any ofthc Collateral.

                 2+                   10,   IT lS FURTHER ORDERED that, in addition to all powers herein above                  ser

                 2S        fofih, the Receiver is hereby vested with all of the general powers of receivers in cases of this
                 26        kind, subject to the direction of this Coug and said Receiver shall, from time to tinre, or wlien

                 27        directed by tlre Couft, render to the Court repofts of the proceedings arrd accountings with

                 28


                                                                                6
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                  1   respect to all of the acts and things done by him and   all monies received and expended by him or
                  2   his agents.

                  3           I   L   IT IS FURTHER ORDERED that in discharging tlre terrns of this Order.              the

                  4   Receiver is authorized to do all things and incur the risks and obligation incun'ed by ownem,

                  5   managers and operators of businesses similar to those of defendants; provided, however, that no

                  6   risks or obligations so incuned shall be the personal risk or obligation of the Receiver, but shall

                  7   be a risk or obligatiorr of the receivership estate.

                  B           lZ,     lT lS FURTHER ORDERED thar, thc Receiver           is authorized to ernploy the law

                  q   firm of Gilmore Magness.lanisse, a Professional Corporation, as Receiver's legal counsel

                 10   ("Receiverts Counsel") in this rnatter,   as reasonably necessary to accomplish the purposes         of
                 11   this Order. Compensation to Receiver's Counsel shall be based on an hourly rate not to           exceed

                 L2   $410 per hour. Receiver's Counsel slrall be entitled to reimbursement of all reasonable costs and

                 13   expenses incurred on   behalfofthe Receivership estate. The attorneys'fees and cost inourred             by

                 14   Receiver's Counsel may be included in the adnrinistrative costs and expenses to be paid to the

                 15   Receiver in accordance with pamgra.ph 8 of this Order.

                 15           13.     lT lS FURTHER ORDERED that the Receiver shall be paid            an hourly rate    of
                 L7   Two Hundred Twenty-l;ive Dollam ($225.00), Receiver slrall be entitled to charge mileage            at the

                 L8   rate of $0.575 per mile (excluding mileage from Receiver's place of business to the principal

                 t9   place of business of Mr. Lester and back). Receiver shall be entitled to be reimbursed fbr'

                 20   expenses incurred at cost.

                 2L           14.     IT IS FUIfTHER ORDERED that in addition to the ernployment of an attorney as
                 22   described in paragraph l2 of this Order (whiclr is authorized without futther Order of this Court)

                 23   the Receiver may, witlrout further Order of the Court, employ an accountant or CPA to assist in

                 24   the identification of and collection of the accourrts and the Collateral, and provide such other

                 25   accounting services the Receiver nray require, provided that the lrourly rate for such accountant

                 26   or CPA shall not exceed $250 per hour.

                 27          15.      IT IS FURTHER ORDERED that the Receiver is authorized to prepare periodic
                 28   interirn shtdments reflecting tlre Receiver's fees and administrative costs and expenses incurred


                                                                                       Order Appointing of Receivcr. TRO and




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                   1    for said period in the operation and administration of the receivership estate lrerein, Upon

                   2    completion of an interirn statement, and mailing said statement to the parties' respective

                   3    attonleys of record or any otlrer designated person or agent, the Receivet may pay from the

                   .t   receivership estate funds, if any, in the amount of said statemenl,   if   no objection thereto is filed

                   5    and served   within ten (10) calendar days of such mailing by the Receiver. If the receivership
                   6    estate has no funds at the end of the interim period, upon delivery of the interim statement and

                   7    notice tlrereofi Plaintiff shall pay to the Receiver all fees and expenses to whiclt it does not file

                   B    an objection   within ten (10) business days, Despite the periodic payment of Receiver's         fees and

                   9    adnrinistrative expenses, said fees and expenses shall be submitted to the Court, for its approval

                 10     and confirmation, in the form of either a noticed irrterim rcguest for fees, stipulation among the

                 1L     parties, or Receiver's final account and report. Plaintiff shall have the right to add to its secured

                 L2     obligation any fees and expenses of the Receiver paid by the Plaintiff to the extent that Plaintiff

                 13     is entitled to do so by applicable law.

                 L4             16.     IT IS FURTHER ORDERED thar the Receiver shall- withirr thirty (30) days of
                 15     qualification hereunder, file in this action an inventory of allproperty of which he slrall have
                 16     taken possession pursuant hereto, pursuant to California Rules of Court, Rule 353(c).

                 L7             17.     lT IS FURTHER ORDERED that no person or entity shall file suit against             the

                 t8     Receiver, or take any other action against the Receiver', without an order of this Court permitting

                 19     the suit or action; provided however, that no prior court order is required to file a motiorr in this

                 20     action to enforce any provision of tlris Order or any otlrer order of this Coutt in this action.

                 2t             18.     IT IS FURTHER ORDERED that the Receiver and the receivelship estate,               and

                 22     employees, agents. attomeys and all professional and management companies retained by the

                 23     Receiver shall have no liability or obligatiorr for the debts incurred by defendants. The Receiver

                 2+     and its employees, agents and attorneys shall have no peruonal liability, and they shall have no

                 25     claim asserted against them relating to the Receiver's duties under this Otder, without prior
                 26     authority frorn this Court as stated in paragraph l7 above.

                 2'l            19.     IT IS FURTHER ORDERED that Defendant RUSSEL W. LESTER' an
                 28     individual, and Defendant KATHLEEN HAMROCK LESTER, an individual(together,

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                      1   "Borrower",   and each a    "Borrower"), and all    agents and employees of Borrower (the.

                   2      "Enjoincd Defendauts" and eaclr an "Enjoined Defendant") and each of them, and each of
                      3   their agents, servants, directors, officers, affiliates, employees, attomeys, representatives, family

                   4      tnentbers, and all other persons and entities wlro are successors in interest to or who are acting in

                   5      conceft or participating with them, or any of thenr, are hereby restmined and enjoined frorn

                   5      engaging in or performing, directly or indirectly, any of the following acts:

                   7                     a.   retaining possession of the Collateral or the Collateral Records;

                   I                     b.   expending, disbursing, tmnsferring, assigning, selling, conveying, devising,

                   9                          pledging, mortgaging, consigning, creating a security interest in,

                 10                           encumbering, concealing or in any manner whatsoever delaying in or

                 t1                           disposing of the whole or any part of the Collateral or Collateral Records,

                 !2                           without the written consent of the Receiver first being obtained;
                 13                      c. demanding, collecting,      receiving, expending, disposing, assigning, secrcting
                 14                           or in any other way divettirrg, using or making unavailable to the Receiver
                 i5                           of the Collateml or Collateral Rccords, or any of the issues and proceeds

                 16                           thereof;

                 t7                      d. doing any act which will, or which willtend        to, impair, defeat, divert, provent
                 T8                           or prejudice the preservation of the Collateral or Collateral l(ecolds, or

                 19                           Receiver's interest therein, in whatever form the interest is held or used        as   of
                 20                           this date, pending further proceedings in this action;

                 2L                      e.   destroying, concealing, trarrsferring or failing to preserye any document that

                 22                           evidences, reflects or pcrtains to the Collateral or Collateral Records, or any

                 23                           part thereof;

                 24                      f.   committirrg or permitting any waste of the Collateral or Collateral Records, or

                 25                           any part thereof, or suffering, committing or permitting any acts thereon in

                 25                           violation of law;
                 2'l                    g. removing, transferring, encumbering        or otherwise disposing of the Collateral

                 2g                           or Collateral l{ecords, until firrther order of this Couft; or

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                  1                     h. interfering in any rnanner with the Collateml   or CollateLal Records, or

                                            Receiver's possession thereof, including, without limitation, communicating

                  3                        or contactirrg any contractees of the Receiver, exercising or attempting to

                  4                        exercise any control or mauagen'lent of functions in connection with the

                  5                        Collateral or Collateral Records, or otherwise engaging in acts inconsistent

                  6                        with the Receiver's sole authority to operate, manage and control the

                  7                        Collateral or Collateral Records.

                  I             20.     IT lS FURTI{ER ORDERED that the Enjoined Defendants shall immediately
                  9   notify Receiver of the location of the inventory, equipment. and Collateral Records of Bonower,
                 10   and immediately assernble alt inventory, equipment, and Collateral Records, and shall allow the

                 11   Receiver to take immediate possession of all inventory, equipment, and Collateral Records, and

                 12   enter onto Bon'ower's business premises for the purposes of doing so.

                 L3             21.    lT lS FURTHER ORDERED that the Enjoined Defendants provide the Receiver
                 14   within 24 hours of the Receiver's request all inforrnation and documentation required by any
                 15   bank or other financial institution to open or maintain any accounts as provided under this Order.

                 15             22.    lT lS FURTHER ORDERED that the Enjoined Defendants slrall lrold in trust               and

                 T7   surrender to the Receiver all monies accountable to the revenues, issues and proceeds of the

                 18   Collateral wlrether generated from the past or present, now in the possession, custody and control
                 19   of Enjoined Defendants, or their agents, servants or employees, and all records, books of

                 20   account, ledgers, and all documents and papels pertaining to the operation, maintenance and

                 21   proceeds   of the Collateral, whether in the possession and control of the Enjoined Defendants          or

                 zz   in the possession and control of agents, servants or employees of the Enjoined Defendants.

                 23             23.    lT IS FURTFIER ORDERED that the Enjoined Defendants shall have no fufther
                 24   oontaot   with account debtors regarding collection of the accounts witltout express written
                 25   instructions from the Receiver.

                 26             24.    IT IS FURTHER ORDERED that the Receiver and the parties to this action            may,

                 27   from time to time and upon due notice to the parties entitled thereto, petition this Court for

                 28   instructiorrs in pursuance of this order aud fufther orderc this Court may hereafter make,

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                      I                25,   lT IS FURTHER ORDERED thatdefendants                 appear   orW.44--,zoz0,
                      2   at[:j[ft.m.        in Departm ent22 of this Court, located at located at 580 Texas St., Fairfield. CA

                      3   94533 (tlie "Hearirtg"), and shorv causc,       if any, why appointment of the Receiver          sl'rould not be

                      4   confinned and the preliminary injunction requested by Plaintiff should not be issued.

                      5            26.       IT IS FURTHER ORDERED that, Plaintiff shallserve the Application, the
                   6      Supporting Pleadings, arrd this Order on the Enjoined Defendants, through their counsel of

                   7      record, on or before     XUy*t1         ,2020,such service to     be made either perconally,        by   Fcderal

                   I      Express or other nationally recogt:ized overnight delivery service, email, ol by personal delivery

                   9      Any opposition to the confirmation of the appointment of the Receiver and the issuance of                  the

                 10       prelimirrary injunction shall be in writing and shall filed with the Court and served on Plainriff

                 x1       or betbref:DQp.m.                                    ,2020. Any suoh opposition and supporting
                                                   ",&tn*flA
                 L2       pleadings shall be filed and served by Federal Express or other nationally recognized overnight

                 13       delivery service, email, or by personal delivery. or any other method which will cause delivery
                 14       same to be received within 24 hours of      filing. Any reply   to any such opposition, arrd all

                 L5       supporting pleadings, shall be filed and served by Plaintiff no latertlran 5:00 p.rn. on
                 15       dutwW               .zozo. Any   such reply and supporting pleadings may be filed and served by

                 I'7      Federal Express or other nationally rccognized ovenright delivery service, email, or by perconal

                 1S       delivery, or any other method which      will   cause delivery of same to be rcccivecJ within 24 hours

                 19       of filing.
                 20       IT IS SO ORDERED.
                 2l
                 2Z
                          DA.1.ED: lo    -lA-eO
                 23
                                                                             JUDCTtIF rue supeRroR couRr
                 24                                                                    ri," , r

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                                                                                                  Ordcr Appointing ofReceiver. TRO and




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           1                                           PBOO{ Or:SERVIC4
           z
                         I am employed in the County of Sacramento, State of California. I am over the.age^of
           3                              within actibn; my business address is 11335 Gold Express Drive, Suite
                  18 and not a parfy io the
                  125, Gold River, California 95670.
           4

                          On June 29r2020rl served the foregoing document(s) described as:
           5


           6
                     NOTICE OF ENTRY OF ORDER

                  on the interested parties to this action by placing a true copy thereof enclosed in a sealed
                  envelope with poitage thereon fully prepaid in the United States Mail at Gold River, California
           8      addressed as follows:
           o
                 Andrew L. Collier Esq.
          10     DOWNEY BRAND LLP
                 621 Capitol Mall, lSthFloor
          11     Sacramento, CA 95814
                 Atto r n ey s fo r D efe n dants
          L2
                 acollier@DowneyBrand. com
          13     lconez(d.downevbrand. c om

          t4     Christopher E. Seymour, Esq.
                 GILMORE MAGNESS JANISSE, a Professional Corporation
          15
                 7789 N. Ingram Avenue, Ste. 105
          t6     Fresno, CA 93711
                 Attorneysfor Receiver Donald G. IIoweIl
          77     Csevmour@gmlega!.$et
                 iwillard(D.smlesal.net
          18

          t9
                 E       (BY ELECTRONIC SERVICE)
          20              Based on a court order or an agreement of the parties to accept service by electronic
                          transmission, I caused the above described document to be to the persons at the
          2t              electronic notification addresses listed in the Service List. I did not receive, within a
                          reasonable time after the transmission, any electronic message or other indication that
          22
                          the transmission was unsuccessful.
          23
                         (srATE)
          24
                          I declare under penalty of perjury under the laws of the State of California that the
          25              foregoing is true and correct.
          26
                          Executed on June 29,2020, at Gold River, California.
          27

          28



                                                                   3
                                                                                                   Notice of Entry of Orde


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                 EXIIIBIT B
                                    51
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                              ICHRISTOPHER E. SEYI\4OUR, # 1 263 3 O
                               csevmour@emlesal.net
                             2 GIT,MORE' MAdNNS S JANI S SE
                               Post Office Box 28907                                                       E
                                                                                                               Clork   the
                             J Fresno, Califomia 937 29 -8907
                               Telenhdne: (559) 448-9800
                             4 Facslmi le: 15 sl;'++a-lsss                                                        JUN 1 S    2020


                              5     Attorneys for Donald G. Howell, Receiver                                                  J. Abu,q
                              6
                                                                                                          Dtffi
                              7
                                                                          SUPEzuOR COURT OF CALIFORNIA
                              8
                                                                                 COI.INTY OF SOLANO
                              9

                           10
                                    FIRST NORTHERN BANK OF DIXON,                              Case No. FCS054698
                           11
                                                             Plaintiff,                        OATH OF'RECEIVER
                           12
                                                 v.
                           13
                               RUSSELL W. LESTER, an individual;
                            t4 KATHLEEN HAMROCK LESTER, AN
                               individual; RUSSELL W. I-ESTER, as
                                                          -asTrust;;
                            15 Tiustee <lfthe Lester Family
                                    faffneEFt H. [,ESTER, Trustee of
                            16      ihe Lester Family Trust; and DOES 1-100,
                                    inclusive
                            l7
                                                             Defendant.
                            18

                            r9
                                                             I, Donald G. Howell, having been appointed receiver in this action, do
                           20
                                    hereby solemnly affirm that I            will support the Constitutions of the United    States   of
                           27
                                    America and the State of California and that I will perform the duties of receiver faithfully,
                           22
                                    in accordance with the law, and to the best of my ability.
                           23
                                                             I declare under penalty of perjury under the laws of the State of California
                           24
                                    that the foregoing is true and correct' Executed                                            California
                           25

                           26                                                                  Donald G. Howell
                           27

                           28
    JILMORE MACNESS,ANISSB
      A PRof EsstoNAL ConruiattoN
        POST OFFICE BOX289ot
    ssNo, cALIFORIIA 93729-890?     I   28984003\53 1249.1                                  I
                                                                                    OATH OF RECEIVER                                   52
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                                 1                                                PROOF OF SERVICE

                                 2                              First Northern Bank v. Russell W. Lester, et al.
                                                                                   Case No. FCS054698
                                 ^J
                                      STATE OF CALIFORNIA, COUNTY OF FRESNO
                                 4
                                             At the time of service, I was over I 8 ye4r_s gf-age. and not a p.arty to.this actio-n. I
                                 5    u* e*nioveO in tfre Counry of Fresno, Statsof California. My budineis address is Post
                                      office bol 28907,Fresno,CA 93729-8907 .
                                 6
                                          On June 17,2A20,I served fruc copies gf tbg following document(s) described as
                                 7    OATH RECEIVER sn the interested pa*ies in this action as follows:
                                 8    VIA EMAIL                                               VIA USPS MAIL
                                      Douelas Kraft                                           Andrew L. Collier
                                 9    rnApr LAw                                               DOWNEY BRAND LLP
                                      1   133   Gold             Drive, Ste. 125              621 Capitol Mall, 18th Floor
                            10                                                                 Sacram-ento,   CA   95814
                                                                                              Tel; (916) 444^1000
                            11                                                                Fax: (91'6) 444-2100
                                                                                              Ernail : acbllier@downeybrand. com
                            t2
                            13                  By MAIL: I enclosed     the document(s) in a sealed envelope-or package addressed
                                      to the Dersons   at the addresses listed in the Service.List and placed the envelope-lor.,.
                            t4                     ind rnailing, following our ordinary business practices. I am readily tqtuttal"
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                            I7
                                      "ltl'g;-""iff
                                            BY E-MAIL OR ELECTRONIC TRANSMISSION: BASEd ON A                                 COUTT OTdET OT.


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                                                                           noiiecEivt, wiihin a reasonoble   time after
                                                                                          ;r-oitrei indicationthat the transmission   was
                            19        the transmissiono
                                      unsuccessful.          "rfiiffi;ri;;&ag;
                            20
                                                I declare   uRder penalty of perjury under the laws of the State of California that the
                            2T        foregoing is true and correct.

                            22                  Executed on June        17   ,2020, at Fresno, California
                            23

                            24                                                                                |,il
                                                                                              Irene Willard
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                            28
     JILMORE MACNESS'ANISSE
      A   pnotBstGALcoirclAroN
          POSTOFflCEEoX 2E97
     RESNO, CALIFORNIA 9l?29-8907

                                                                                                                                      53
Filed 08/31/20                                                  Case 20-24123                                            Doc 16




                               I    CHRISTOPHER E. SEYMOUR, #126330
                                                                                           END0RSED FILED
                                                                                            Clsrk ol tho Suparior
                                                                                                            Court
                               2    G                        JANISSE
                                    Post Office Box 289A7
                               J    Fresno. California 937 29 -8907                            JUN   I 0 2020
                                    Telephbne: (559) 448-9800
                               4    Facsimile: (5 59)'448-9899                                        J' Abueg
                                                                                          F}ffi
                               5    Attorneys for Donald G. Howell

                               6

                               7

                               8                              SUPERIOR COURT OF CALIFORNIA

                               9                                     COI.INTY OF SOLANO

                             10

                             11     FIRST NORTHERN BANK OF DIXON,               Case No. FCS054698

                             t2                  Plaintiff,                     BOND OF RECEIVER

                             13           v
                             t4 RUSSELL W, LESTER, an individual;
                                KATHLEEN HAMROCK LESTER, AN
                             r5 individual; RUSSELL W..I-ESTER, as
                                Trustee of the Lester FamilY Trust;
                             16 rafrLgrN I{. LESTE&'as Trustee of
                                the Lester Family Trust; and DOES l-100,
                             l7 inclusive
                             18                  Defendant.

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     ]ILMORE MAONESS JAN1SSE
      A PRor!slloN^L CoRrcRArtoN
       POSTOFFTCEBOX 28S?
     RESNO, CALIFORNIA 93729.8907

                                                                       BOND OF RECEIVER                             54
Filed 08/31/20                                                  Case 20-24123                                                                       Doc 16




                                                                                                  THE HARTFORD
                                             (This is the address for selice under section 995.320 C'C.P')
                                                            IN THE superiorCOURT
                                                                 COI_INTY Q!' solano
                                                           STATE OF CALIFORNIA                                   5 TBSB   I,I0   03   1



                                                                 Plaintiff(s)
                 FIRST NORTHERN BANK OF DIXON

                                                                                               CaseNo. FcS054698

                                              vs
                                                                                         BOND OX'RECEIVIR
                                                               Defendant(s)
         RUSSEI,   W. I,ESTER, an individuaL;           KATHLEEN
         HAMROCK LESTER,  an individual; RUSSELL W'
         LESTER, as Trustee of Ehe lJester Family
         Trust; KATHT,EEN H. LESTER, as Trustee of Lhe
         Lester Family Trust; and DoES l"-100,
         inclusive

                    KNOWALL MENBY TI{ESE PRESENTS:
                                 Thatwe Donald G' Howell
                    as principal(s), and Harcford
                                                     Fire rnsurance companv as Surety, are firmly bOund unto the State Of
                    California    as Obligee in the sum  of Ten Thousand DoLLars
                        i o , o oo     ) io be paid to the said Obligee, for which payment, well and truly to be madg we bind
                    1S
                    iir.r"lu"u, our heirs, legal  representatives, successors and assigns,jointly and severally, firmly by these
                    presents.

                    T}IE CONDITION OF T}IE ABOVE OBLIGATION IS SUCH THAT'
                                                                                                    been appointed Receiver(s)
                    WIIEREAS bY order ofthe above entitled Court, the Principal(s) has (have)
                    therein and directed to file a bond according  to law in the surn above  named.
                    NOW, TI{EREFORE, if the said Principal(s) shall faithfully execute the duties of the trust according to
                    law, then this obligation shall be void; otherwise to remain in fulI force and effect'
                                Signed, sealed and datedthis   16th   daY   of .fune , 2o2o




                                                                                          Hartford Fire Insurance                         ComPanY

                                                                                        By           &642a-V-'*'"*?
                                                                                          amy,lo-Francjs,          Attomey-in-Fact
                    BondNo.57BSBIJO031
                    The premium Charged for this bond
                    is $1oo           per annum




                                                                                                                                             55
Filed 08/31/20                                                     Case 20-24123                                                                    Doc 16



                                                                                     A notary public or other officer completing this certificate
                 s7BSB]J0031                                                         verifies only the identity of the individual who signed the
                                                                                     document to which this certiflcate ls attached, and not the
                                                                                     truthfulness, accuracy, or validity of that document.
                 ACKNOWLEDGEMENT OF SURETY


                                           Florida
                 State   of
                 County       of          Seminole
                                                                    )

                                                                                  Shantadevie Mahadeo, Notary
                 On      June 16,2020                          before me,
                                   date

                 personally appeafed                 Amy Jo Francis, AttorneY-in-fact
                                                                           name(s) ofsigaer(s)




                 who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) isiare
                 subsCribed to the within instrument and acknowledged to me that he/she/they executed the same
                 in his/her/their authorized capacity(ies), and that by hisftrer/their signature(s) on the instrument
                 the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.


                 I certify under PENALTY OF PERJURY under the laws of the State of California that the
                 foregoing paragraph is true and conect.


                 WITNESS my hand and official seal'                                                          Not!ry Publio SIrb d Flotid|


                 Signature                                                        (Seal)         ##          ahadiadovl€ Mdhadeo
                                                                                                             My corir'trur*iqt Gl6 061!EE
                                                                                                             E*puarAw14nwl




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Filed 08/31/20                                                         Case 20-24123                                                                                       Doc 16



                                                                                                                                              ul rieslClal ms
                                                                                                                                   D i rect I n q                 to   :
                                                                                                                                          THE HARTFORD
                                                                                                                                               BOND, T.I1


          POWEROF ATTORNEY                                                                                                                 One Hartford Plaza
                                                                                                                                      Hartford, Connecticut 061 55
                                                                                                                                    Bond,c16lms@thehartf ord.com
                                                                                                                               cafl.' 888-266-3488 otfaxr 860-757'5835

                                                                                             Agency Name; oMEGA PAcrFrc rNsuRANcE solurroNs
        KNow ALL pERsoNs BY THESE PRESENTS               THAT:                               Agency Code: 5?-12.9520

                 x      Hartford Flre lnsurance Company, a corporation duly organized under the laws ofthe State ofConnecticut
                        Hartford Casualty lnsurance Company, a corporation duly organized under the laws of the State of Indiana
                        Hartford Accident and tndemnity Company, a corporation duly organized undet the laws of the State of Connecticut
                        Harlford Underwriters lnsurance Company, a oorporation duly organized under the laws of the State of Connecticut
                        Twin City Fire lnsurance Company, a corporation duly organized under the laws of the State of lndiana
                        Hartford lnsurance Company of lllinols, a corporation duty organized under the laws of the State of Illinois
                        Hartford lnsurance Company of the Midwest, a corporation duly organized under the laws of the State of lndiana
                        Hartford lnsurance Company of the SOUtheast,           a corporation duly organized under the laws   ofthe State ofFlorida

                                                                                                       "Companies") do hereby make, constitute and appoint
        having their home oflice in Hartford, Connecticut (hereinafter collectively referred to as the
        Amy ,lo Francie
         of Lake Mary,     Florida
        its true and lawful Attorney-in-Fact, to sign its name as surety(ies) only as delineated above by , and to execute, seal and
                                                                                                                                     acknowledge the
        following bond, undertaking, contract or written instrument:
        Bond No, s?BsBr,loo31
        Naming Donald G. Howelf as           Principal,




                             S-fr                  il'ffi^p
                                Shelby Wiggins, Assislant Secretary                                        Joelle L.
                                                                                                                                                /,t^N
                                                                                                                                Asslstant Vice President

        srATE OF     FLORIDA
                                  I       ss'   Lake Mary
        couNTYoFsEMrNou             J                                                                 mg ggwt who being by me duly sworn, did. depose and say:
                  on this 13th day of February, 2020, before me personaily came Joelle LaPielre,  to.
                  resldes in seminore'io-uilib.tut"iirrorio.; triitOne       Assistant
                                                                          id rne       vice. President   of lhe companies, the corporations described in and wtlich
        that (s)he
                                                                                                      seals aflixed tb the said lnstrument are such corporate seals;
        executed the above instrument; that (s)he knows lhe ."uG i,iin" ruld corporalions; thal the
        ii"l:ir.il#i,li;"fli;;;il iliilrtty l#i6e goard"of Diredon orsaid aorporalions and ihat (u)he sisned his/her name thereto by like authority'

                                                                                       ilitf:qr J-t^ u".,,<,
                                                                                       :$=tqb:t                        V           JessicaNoeueciccone

                                                                                       "a+fi1iqTn                               "{ii*r;'*}idii1it,
                                                                                                                              and foregoing is a true and correct
                  l, the undersigned, Assistant Vice president of the companirg, P9 HEREBY CERTIFY that the above
             of the  Fower  of Aitorney executed by said Companies,   which is still in full force effective as of uune-te , zo-zo.         .-
        copy
                  Signed and sealed in Lake Mary, Florida.




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                           \J/
                                    7d/ #Fy*
                                                                                                            Keith D. Dozois, Assislant Vice President



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                                                                                        THE
                                                                                        HARTFORD


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                                     or at 1-800-592-5717.




                                                  @20A7, The Hartford                    Page 1 of   1
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                              I                                        PROOF OF SERVTCE

                              2                         First Northern Bank v. Russell W. Lester, et al.
                                                                        Case No. FCS054698
                              3
                                   STATE OF CALIFORNIA, COUNTY OF FRESNO
                              4
                                          At the time of service, I was over 18 years of age and not a party to this action, I
                              5    am employed in the County of Fresno, State of California. My business address is Post
                                   Office Boi< 28907, Fresno, CA93729-8907.
                              6
                                       On June 17,2020,I served true copies of the following document(s) described as
                              7    BOND OF RECEIVER on the interested parties in this action as follows:
                              8    VIA EMAIL                                        VIA USPS MAIL
                                   Douglas Kraft                                    Andrew L. Collier
                              9    KRAFT LAW                                        DOWNEY BRAND LLP
                                   11335 Gold Express Drive, Ste. 125               621 Capitol Mall, 18s Floor
                            10     Gold Ri    cA 9s670                              Sacramento,     CA   95814
                                   Tel: (9 I 80-3040                                Tel: (916) 444-1000
                            l1     Fax: (9        04s                               Fax: (916) 44l.-21CI0
                                   Email:                                           Emai I : acoll i ef @downeybrand,com
                            t2
                            13

                            t4
                            15

                            T6

                            t7            BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or.
                                   * um""renf of ttre parties to accept service by e-mail or elechonic transmission, I caused
                           18      the focument(s) to b^e sent from e-inail address iwillard@gmlegal.net to the pglsolts at the
                                   e-mail addresies listed in the Servioe List. I did not receive, within a reasonhble time after
                           t9 the transmission, any electronic message or other indication that the transmission was
                                   unsuccessful.
                           20
                                          I declare under penalty of perjury under the laws of the   State   of California that the
                           2T      foregoing is true and correct.

                           22             Executed on June 17,2020, at Fresno, Cal

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                           24
                                                                                    Irene Willard
                           25

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                           28
    JILMORE MAONESS JANISSE
      A PRof srtoNil- CorbrATroN
        POSTOFfICE BOX 28907
    RESNO, CALIFORNIA 9'?29.8907

                                                                                                                           59
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                 EXITIBIT C
                                    60
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        Northern Bank of Dixon v Russell Lester
        Case Number FC5054598
        Receivers Equipment InventorY


        WATNUT INVENTORY:
                     ln-Shell t,99t,876Pounds
              Shelled Meats 1,923,127 Meat Pounds


        HAY INVENTORY:
                    Oat HaY          400 Tons




                                                                    61
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        Northern Bank of Dixon v Russell Lester
        Case Number FCS054698
        Receivers EquiPment lnventory




        EQUIPMENT INVENTORY:


        Harvest Equipment
                 Tvpe            Make              Model        Description                         Serial Number

             Combine              Case             1660         Grain Harvester w/ Head             26912
             Combine              Case             1010         Wheat Head for Harvester            JJCOO77704

              Cutter              HFT               830         Bean Cutter                         16809

             Elevator          Compton            Missing       Field Elevator                      Missing

             Elevator            Jessee           202-36        Field Elevator                      00045

             Harvester         Gustafson          Missing       Almond Harvester                    Missing

             Harvester        lnternational       810-17.5      Bean Pickup Header                  23044
             Harvester       Weiss McNair          9800         Nut Harvester                       99439

             Hay Rake          Unknown            Unknown       Side Delivery Hay Rake              Missing

             Nut Cart             Flory           Missing       Super Cart                          Missing

             Nut Cart          Jackrabbit         HP 335        Reservoir Cart                      0271
             Nut Cart          Jackrabbit         SJ 17PF       stickjack                           Missing

             Nut Cart           Johnie's          Missing       Super Cart                          Missing

             Nut Cart          McFaddin           Missing       Super Cart                          Missing

             Nut Cart             RFM              1091         Super Cart                          8 SC 003

             Nut Cart             RFM              1091         Super Cart                          8 CS 010

              Shaker              OMC              3WMB         Shaker                              Missing

              Shaker              oMc              3WMB         Shaker - Shockwave                  Missing

              Shaker              oMc              3WMB         Shaker - Shockwave                  0050

             Sweeper         Weiss McNair          JD   90      Sweeper                             99036

             Sweeper         Weiss McNair          2930         Sweeper                             Missing

                 Bins           Cal Pine          Missing       4' x 4' x 4' Wood Bins x 3,515      Missing

                 Bins            Macro            Missing       4' x 4' x 4' Plastic Bins x 2,486   Missing
                 Bins            Macro            Missing       4' x 4' x 2' Plastic Bins x 20      Missing




                                                                                                                    62
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        Northern Bank of Dixon v Russell Lester
        Case Number FCS054698
        Receivers Equipment lnventorY
        Page Two


        lmplements
               Tvpe              Make              Model        Description                      Serial Number
            Cultivator       Allis Charmers         1300        Field Cultivator                 1488

            Cultivator          Custom            Missing       10' 3 Point Root Cutter          Missing

            Cultivator        John Deere           EO   400     Rotary Hoe                       020564N
            Cultivator          Johnson             360         All Purpose lncorporator         AP 15

            Cultivator          Lilliston          RC   30      Lilliston Wheel Cultivator       1040

            Cultivator         Unknown            Missing       15' Cultivator Sled              Missing

            Cultivator         Unknown            Missing       20' Cultivator Bar               Missing

            Cultivator         Unknown            Missing       6 Row Shielded Cultivator Sled   Missing

                 Disk         AC Midland          Missing       9'9" Wheel Disk                  Missing

                 Disk        Allis Charmers             L       12'Drag Disk                     Missing

                 Disk        Allis Charmers        GWO          12'Stubble Disk                  Missing
                 Disk        Allis Charmers        WK 15        15'Disk                          wK 1s 075306-0884
                 Disk        Allis Charmers             L       24'Drag Disk                     075310
                 Disk        Allis Charmers             L       32'Drag Disk                     07s310-231.9
                 Disk         John Deere            225         10'Wheel Disk                    Missing
                 Disk            Kilifer           K8701        9'9" Drag Disk                   Missing
                 Disk            Kilifer          Missing       9'9" Drag Disk                   Missing

                 Disk          Unknown            Missing       Disk Plow                        Missing
              Harrow            Glencoe           Missing       l-5'Harrow                       Missing

              Harrow             Spike            Missing       20'Spike, 3 Section, Pull        Missing

            Landplane          Eversman           Missing       10'x 40'Triplane                 Missing

            Landplane          Gustafson          Missing       Orchard Landplane                Missing

            Landplane           Marvin            Missing       10'x 20' Landplane               Missing

            Landplane             RFM             Missing       10'Landplane                     LP   97034
            Landplane            Sweco            L6' x 40'     16'x 40'TriPlane                 sr4016-030
               Lister         Roll - A Cone        6x60         6 x 60 Folding Lister            93-027s9
               Lister          Unknown            Missing       1,5' Lister   w/ Bed Shapers     Missing

               Lister          Unknown            Missing       Heavy Duty Lister Sled           Missing

              Mower             Bear Cat           75065        Wheeled String Mower             506871

              Mower             Bear Cat           75065        Wheeled String Mower             600015

              Mower            Billy Goat         BC24O2H       Walk Behind Brush Shredder       040406076
              Mower              Dandl              80A         L0'Flail Mower                   8oAG208

              Mower             Loftness          18OBPLLR      FlailChopper                     29-E-59
              Mower              Rea rs           Missing       10'- Flail Mower                 Missing

              Mower              Rears            Missing       t2'   Flail Mower                Missing

              Mower              Rea rs           Missing       8'Flail Mower                    Missing

              Mower              Rhino            Missing       10'Flail Mower                   10002
              Mower              Rhino             RC   20      20'Flail Mower                   10034

              Mower             Trimax            TTU178        Rotary Mower                     TTU011178111M
              Planter         John Deere             7t         5 Row Planter                    Missing

                                                                                                                     63
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        Northern Bank of Dixon v Russell lester
        Case Number FCS054698
        Receivers Equipment InventorY
        Page Three


        lmplements - Continued
             Tvpe                 Make             Model       Description                           Serial Number
            Planter           John Deere            6x30       6 x 30 Bar   w/John Deere   TL Cans   Missing
            Planter                Lely            Missing     3 Point Broadcaster                   Missing
            Planter               Oliver             64        12'Drill                              Missing
             Plow                 Oliver           Missing     3 Bottom RollOver Plow                Missing
             Plow                 Wilcox          20'x 3 Bar   7 Bottom RollOver Plow                Missing
             Plow                 Wilcox           Missing     7 Bottom RollOver Plow                Missing
             Ridger              Reynolds            LPH       3 Pt. Ridger                          18945
             Ridger              Unknown           Missing     California Ridger                     Missing
             Ripper              Cash   /   lH     SubSol      9 Shank Ripper                        0362907
             Ripper               Kilifer          Missing     Single Shank Ripper                   Missing
             Ripper              MurraY            M55S        5 shank 45" Ripper                    Missing
             Roller                Cat              4x4        Sheepsfoot                            Missing
             Roller            Gustafson           Missing     3 x 5 Rollers                         Missing
             Roller            Schmeiser           Missing     10'                                   Missing
             Roller            Schmeiser           Missing     10'Ring Roller                        Missing

             Roller            Schmeiser           Missing     16' Ring Roller                       Missing
             Roller            Schmeiser           Missing     20'                                   Missing
             Roller            Schmeiser           Missing     6'                                    Missing
             Roller            Schmeiser           Missing     6'                                    Missing
             Roller              Unknown           Missing     tO' - L2" Flat Roller                 Missing
             Roller              Unknown           Missing     !0' - 24" Flat Roller                 Missing
             Roller              Unknown           Missing     16' Ring Roller                       Missing
             Roller              Unknown           Missing     L6' Roller for Ripper                 Missing

            Rototiller            Belco              590       Rototiller                            20s33
            Scraper               Ateco             H-71       7 Yard Carryall                       2794
            Scraper              Gannon             R-3OL      6" w/ Hyd. Rippers                    480

            Scraper           John Deere             9K        10' Carry All                         9K10-02

            Scraper               Porter           Missing     10" Drag Scraper                      HDS 101155

            Scraper              ReYnolds          Missing     Scraper                               1825r
            Scraper               Rhino             2500       3 Pt. Angle Blade                     1o425
            Scraper            Schmeiser          VBL-14R      V Blade Scraper                       Missing

            Spreader               KMC             Missing     Gable Spreader                        Missing

            Spreader              S   &A            3260       Compost Spreader                      Missing


        Miscellaneous Equipment
              Tvpe                Make             Model       Description                           Serial Number
             Forklift         Blackwelder          Missing     3 Pt Tractor Forklift                 Missing

           Gopher Bait        Verminator           cxE647      Gopher Bait Machine                   Missing

            lrrigation           Unknown           Missing     10'x 40'Aluminum Pipe x 40            Missing

            lrrigation           Unknown           Missing     !2" x 40'Aluminum Pipe x 24           Missing

                                                                                                                     64
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        Northern Bank of Dixon v Russell Lester
        Case Number FC5054598
        Receivers Equipment lnventorY
        Page Four


        Miscellaneous Equipment - Continued
               Tvoe              Make       Model               Description                                 Serial Number
             lrrigation         Unknown Missing                 !2" x45'Aluminum           Pipe x 12        Missing
             lrrigation         Unknown Missing                 L2" x 45'Aluminum Pipe x 12                 Missing
             lrrigation         Unknown Missing                 3" Aluminum Pipe w/ Risers x 430            Missing
             lrrigation         Unknown Missing                 8' x 30' Aluminum Pipe x 218                Missing
             lrrigation         Unknown Missing                 Drip Hose Reel                              Missing
              Magnet             Rhino         62               Magnetic Sweeper for ATV                    Missing
               Motor               GE     Hollow Shaft          100 H.P Electric                            Missing
               Motor               GE     Hollow Shaft          50 H.P Electric                             Missing
               Motor               GE     Hollow Shaft          50 H.P Electric                             Missing
               Motor               GE     Hollow Shaft          75 H.P Electric                             Missing
               Motor           John Deere 6466-AF-00            Stationary Power Unit                       103245RG

               Pump              Berklet    Missing             3 Pt. Pump                                  Missing
              Shanks            Unknown Missing                 Various Cultivator Shanks                   Missing
               Tank              Mueller    Missing             5,000 Gallon Jacketed Tank                  Missing
               Tank             Unknown Missing                 600 Gallon Water Tank                       Missing
               Tank             Unknown Missing                 600 Gallon Water Tank                       Missing


        Processing Equipment
              Tvoe                Make              Model       Description                                 Serial Number
              Airleg               AIM               26-6C      Airleg                                      Missing
              Airleg            Gustafson           Missing     Airleg                                      Missing

              Airleg            Gustafson           Missing     Airleg                                      Missing
              Airleg            Gustafson           Missing     Airleg                                      Missing
              Bench             Unknown             Missing     24" x    !2"   SS   Work Bench              Missing

           Bin Dumper            Custom             Missing     ln-Shell Bin Dumper w/ Tank                 Missing
             Cabinet            Unknown             Missing     32" x74"       SS   Work Cabinet            Missing
              Chutes              Sortex          3200 rR/vrs   Long Chute                                  Missing
              Chutes              Sortex          3200 rR/vrs   Long Chute                                  Missing

              Chutes              Sortex          3200 rR/vls   Long Chute                                  Missing

              Chutes              Sortex          3200 rR/vrs   Long Chute                                  Missing
              Chutes              Sortex          3200 rR/vrs   Short Chute                                 Missing

              Chutes              Sortex          3200 rR/vrs   Short Chute                                 Missing
              Chutes              Sortex          3200 rR/vrs   Short Chute                                 Missing
             Cleaner            Gustafson           Missing     Almond Meat Cleaner                         Missing
             Counter            Unknown             Missing     24" x7"    SS   Drain Counter    w/ sinks   Missing

              Dryer              Blue Line          Missing     Gas Dryer                                   Missing
              Dryer              Peerless           Missing     Gas Dryer                                   Missing
              Dryer            Reverse Vane         Missing     Dryer w/ Burner                             Missing

              Dryer            Reverse Vane         Missing     Dryer w/ Burner                             Missing
              Dryer               SYkuP             Missing     Gas Dryer                                   Missing


                                                                                                                            65
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        Northern Bank of Dixon v Russell Lester
        Case Number FCS054598
        Receivers Equipment lnventory
        Page Five


        Processing Equipment - Continued
               Tvpe              Make             Model       Description                    Serial Number
              Dryer              Sykup            Missing     Gas Dryer                      Missing
              Dryer              Sykup            Missing     Gas Dryer                      Missing
              Dryer              SykuP            Missing     Gas Dryer                      Missing
              Dryer              Sykup            Missing     Gas Dryer                      Missing
              Dryer              Sykup            Missing     Gas Dryer                      Missing
              Dryer              Sykup            Missing     Gas Dryer                      Missing
              Dryer              Sykup            Missing     Gas Dryer                      Missing
              Dryer              Sykup            Missing     Gas Dryer                      Missing
              Dryer              Sykup            Missing     Gas Dryer                      Missing
             Elevator            RFM              Missing     Nut Elevator                   Missing
              Huller             Fadie            Missing     30'Almond Huller               Missing
              Huller            Wizard              R12       Huller, Left Hand              Missing
              Huller            Wizard              RL2       Huller, Right Hand             Missing
              Huller            Wizard            Missing     Hdlling Plant                  Missing
              Huller            Wizard              R9        Walnut Huller                  Missing
           Roller Sizer       Commercial          Missing     Nut Sizer                      Missing
           Roller Sizer       Commercial          Missing     Nut Sizer                      Missing
              Scale            Unknown            Missing     120 Lb. Bench Scale            Missing
            Screener           Unknown            Missing     Commercial Screener            Missing
              Sheller         Commercial          Missing     Walnut Sheller                 Missing
              Table              AIM         DRF SS TrplCas SS     Sorting Table             Missing
              Table              AIM         DRF SS TrplCas SS     Sorting Table             Missing
              Table              AIM              Missing     SS   Sorting Table             Missing
              Table            Unknown            Missing     30"x36"   SS   Scale Table     Missing
              Table            Unknown            Missing     SS   Electronic Sort Frame     Missing
             Vacuum            Turbovac           sB 1000     Vacuum Packing Machine         Missing
              Scale              LHW              Missing     300 Pound Bench Scale          000355
             Packing           ActionPac      ME 1O95CSD      Bulk Filler                    Missing
             Packing           Actionpac          MAX109      Scale                          Missing
              Table              AIM         DRF SS TrplCas SS Sorting Table                 Missing
             Elevator             Stis            Missing     SS   Sanitary Grade Elevator   Missing
           Bin Dumper          Malavac            Missing     Bin Dumper                     0901-1684
              Scale           Flexweight     DWM IV-sOOO Platform Scale                      FL6482
           Bin Dumper          Malavac            LM448H      Bin Dumper                     Missing
            Generator          Unknown              34        150 KW Electrical Generator    s6701
            Cleaning           Unknown            Missing     Floor Machine                  Missing
             Elevator          Universal          Missing     Bucket Elevator                Missing
              Table            Unknown            Missing     Huller Sorting Table           Missing
              Tank             Unknown            Missing     Floatation Tank                Missing
             Cleaner           Unknown            Missing     Walnut Pre-Cleaner             Missing

                                                                                                             66
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        Case Number FCS054698
        Receivers   Eq   uipment lnventory
        Page Six


        Trailers and Carriers
              Tvpe          Make                   Model      Description                        Serial Number
              ATV           Shop                  Missing     ATV Cart                           Missing
              ATV           Shop                  Missing     ATV Cart                           Missing
              Dolly        Custom                 Missing     5th Wheel Field Dolly              Missing
              Dolly        Custom                 Missing     5th Wheel Field Dolly              Missing
              Fuel          Shop                  Missing     1,000 Gallon Trap Wagon            Missing
              Fuel          Shop                  Missing     500 Gallon Trap Wagon              Missing
            lmplement Allis Charmers                400       lmplement Carrier                  Missing
            lmplement Delta                       Missing     35' lmplement Carrier              Missing
            lmplement Not Avail.                  Missing     32' Goose Neck lmplement Carrier   Missing
            lmplement Wilcox                        PC3       lmplement Carrier                  5027
              Nut         Blanton                 Missing     Drying Trailer                     Missing
              Nut         Blanton                 Missing     Drying Trailer                     Missing
              Nut         Blanton                 Missing     Drying Trailer                     Missing
              Nut         Blanton                 Missing     Drying Trailer                     Missing
              Nut         Blanton                 Missing     Drying Trailer                     Missing
              Nut          Jessee                 Missing     Nut Trailer                        Missing
              Nut          Jessee                 Missing     Nut Trailer                        Missing
              Nut           OEC                   Missing     Nut Trailer                        Missing
              Nut           OEC                   Missing     Nut Trailer                        Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
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              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut - Peerless                      Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing
              Nut         Peerless                Missing     Drying Trailer                     Missing

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        Northern Bank of Dixon v Russell Lester
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        Page Seven


        Trailers and Carriers - Continued
              Tvoe                   Make          Model          Description                SerialNumber
              Pipe                  Jessee        Missing         Pipe Trailer               Missing
              Pipe                   Shop         Missing         Pipe Trailer               Missing
              Water                  Shop         Missing         L,000 Gallon Water Wagon   Missing


        Wheeled Equipment
               Tvpe                  Make          Model          Description                Serial Number
             Back Hoe             John Deere        930           Wheeled Tractor            1T0410LXAHF3t9709
             Boom Lift                JLG          450 AJ         Wheeled Tractor            Missing
             Boom Lift               Case         M 450    AJ     Wheeled Tractor            Missing
              Forklift                Cat          30-lp          Forklift                   Missing
              Forklift                Cat         GP25K-L         Forklift                   Missing
              Forklift                Cat          P5000          Forklift                   AT3s36082
              Forklift                Cat          E6000          Forklift - Electric        A4EC34tO97

            Track Layer               Cat           D4            Track Layer                7U35730
            Track Layer               Cat           D4C           Track Layer                40As130
            Track Layer               Cat           D4D           Track Layer                78A851
         Tracked Tractor          John Deere       85207          Rubber Tracked Tractor     RW8s20T902087
          Wheel Tractor              Ford           841           Wheeled Tractor            Missing
          Wheel Tractor           John Deere       2755           Wheeled Tractor            102755U775973
          Wheel Tractor           John Deere       6430           Wheeled Tractor            106430D651391
          Wheel Tractor           John Deere       6510           Wheeled Tractor            LO65!0V227534
          Wheel Tractor           John Deere      6125M           Wheeled Tractor            116125MKFD830198
          Wheel Tractor           John Deere      6125M           Wheeled Tractor            LL06125MCFD84Lt47




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                 EXFTIBIT D
                                    69
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        DIXON RIDGE FARMS
        MARKET ANALYSIS OF INVENTORY
        July 10,2020


        lnventory Valuation Estimate:
                                                                     20L8                2019                Total:

                          ln-Shell Pounds                                0          t,99r,876            r,997,876
                            Meat Pounds                         t,8r2,020             ttr,r07            r,923,t27
                            Total Pounds                        L,gL2,O2O           2,102,983            3,915,003


                           Value   /   Pound
                                                                     2018                20L9

                           ln-Shell $ / tb.                          so.60               $0.6s
                             Meat      S   /   Lb.                   s1.2s               s1.80


                             Gross Value
                                                                     20ta                2079                Total:

                  Gross ln-Shell Value                               So.oo      51,294,779.40        5r,294,719.40
          Gross Meat Pounds Value                           s2,26s,02s.00         s199.992.60        s2,46s.0r7.60
                              Total Value                   S2,26s,025.00       5t,494,7L2,oo        59,7s9,737,oo




        1. This   is   the estimated market value of the inventory under the marketing conditions outline in the Order Appointing
                                                     the Receiver.
        2. Therehasbeenaonehundredpercentrefusal bythepotential Organicpurchaserscontacted. Thisinventorywill                              be

                                                     sold into the conventional market assuming there are no market barriers placed there as well'
        3. Current market conditions are significantly depressed, and all prices reported reflect a substantial market survey
                                     undertaken the first week ofJuly personal contact with brokers, organic and conventional
                                                     processors, industry periodicals, and monthly grower reports from processors.
        4. This   is an   estimated market value. The final value will be determined by what a willing and able buyer is willing to pay
                                        under the terms of sale dictated by the Order Appointing a Receiver. The final market price
                                                     may differ significantly from the estimate provided herein.




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                 EXI{IBIT E
                                    71
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     lrene Willard

     From:                             Williams, Jennifer <jwil liams@downeybrand.com >
     Sent:                             Monday, July 20, 2020 7:56 PM
     To:                               Christopher E, Seymour
     Cc:                               'Douglas Kraft'; 'Don Howell (Dghowell@Protonmail.com)'; lrene Willard; Collier, Andrew
     Subject:                          FW: Discussion topics for Don Howell



     HiChris,

     BelowisalistoftopicsthatBizCapisinterestedindiscussingwiththereceiver.          lanticipatethereceivermaynothave
     any information on some of these topics. ln which case, I can simply let BizCap know.

     Again, I urge you to reconsider allowing the receiver to speak with BizCap directly. lt will save time and money to do
     so. While the order may not require him to speak with BizCap, it also doesn't preclude such conversations.

     We are cooperating with you and the bank and are merely asking for some cooperation in return.

     Thanks.

     Jennifer L. Williams


     trOWItlEYBRAND
     Downey Brand LLP
     3425 Brookside Road, Suite A
     Stockton, CA 95219
     209.473.6450 Main
     209.472.3918 Direct
     209.472.3919 Fax
     jwill iams@downeybrand. com
     www.downeybrand.com



     From: Matt Christensen <mchristensen @bizcap.com>
     Sent: Monday, July 20,2020 1:54 PM
     To: Williams, Jennifer <jwilliams@downeybrand.com>; Collier, Andrew <acollier@DowneyBrand.com>
     Cc: Ch uck Doyle <cdoyle@bizca p.com>; Keith Secon <ksecon@ bizca p.com>
     Subject: Discussion topics for Don Howell

     Ladies & Gentlemen


     Our objective at Business Capital is to secure capital to refinance Dixon Ridge Farm's debt with First Northern Bank of
     Dixon. This process will be expedited with good communication flow and data that is as accurate as possible' Don
     Howell is uniquely positioned to assist in this process. Specific topics include:

           1. lnventory evaluation and valuation
           2. Best options to monetize inventory
           3. Ascertaining valuations of property at 5430 Putah Creek Road
           4. Status and resolution of insurance claims relative to 2017 fire
           5. Resolution of on premise power generation capability
           6. Timing & contingencies related to the Conservation Easement Funding on the McCune and Carrion properties
                                                                                                                   72
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            7.   Clarification as to liens and collateral interests
            8.   lnsight into future concerns as they present themselves.

     Don Howell, as Receiver, has thorough visibility into activities both past, present and future. Mr. Howell also has the
     sole authority for certain actions including any payments to vendors, consultants and/or required maintenance. All
     lenders that we work with will required a complete objective current fact set. With communication we hope to achieve
     these requirements in the most efficient way possible'

     Thank you for allowing this communication

     Matt Christensen
     SVP,   Team Leader
     Business Capital
     mchristensen    @   bizcap.com
     o: (a15) 989-0970
     C:(a1s) 676-78st

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      t:,tlll'ts 1r"
     311 California Street I Ste 650 I San Francisco, CA 94104

     COMMERCIAL FINANCE I ASSET BASED DEBT, GROWTH & PRIVATE CAPITAL I DEBT RESTRUCTURING

     All information included in this e-mail is "Confidential lnformation" and the property of Business Capital. The contents of this e-mail message and its
     attachments are intended for the addressees hereof. lf you have received this transmission in error please alert the sender by reply e-mail and please
     delete this message and its attachments from your system.




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     communication or otherwise. If you have received this communication
     in error, please contact our IS Department at its Internet address
      (isGdowneybrand.com), or by telephone at (916)444-1000x5325. Thank
     you.




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                                                                                 2
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     lrene Willard

     From:                              Christopher E. Seymour <Cseymour@gmlegal.net>
     Sent:                              Tuesday, luly 21,2020 11:01 AM
     lo:                                'Williams, Jennifer'
     Cc:                                'Douglas Kraft'; Don Howell (Dghowell@Protonmail.com); lrene Willard; Collier, Andrew
     Subject:                           RE: Lester receivership




     Jenny,

     Thank you for the clarification on the Bank of the West account. Your client received at least two letters from the
     Receiver demanding an accounting of all bank accounts, and two requests from me through you and Andrew to
     comply. The purpose is to ensure that no cash collateral applicable to the Receivership was transferred into the other
     accounts. As far as records for the account, the receiver is willing to limit the requirement for back-up information, ot
      least for now, to transactions since he was appointed Receiver on June 12,2020. The Receiver reserves the right to ask
     for additional information after reviewing the bank statements, check registers, and the account detail back to June 12.

     As for BizCap, the "authorization" was for the Receiver to find out what information BizCap wanted to determine
     whether that was something the Receiver could and should participate in under the receivership order. We decided
     that the best way to determine what information Bizcap was looking for was to request it in writing to ensure everyone
     was on the same page, as we were at a loss as to what BizCap would want from the receiver that it couldn't obtain
     elsewhere that was within the Receiver's duties under the order to provide. Reading the list you e-mailed last night, l'm
     glad we did, as it confirmed that BizCap wanted information and involvement in the refinancing process that is
     completely outside the duties of the receiver as set forth in the order.

     The list you provided makes it clear that the intention is to put the receiver in the position of being a financial or
     refinancing consultant to your client and/or BizCap. The subjects listed are operational subjects. That not only is outside
     the parameters of the order, it is also outside the scope of the role of a Receiver appointed as to specific collateral' He
     was not appointed to be a business advisor or consultant. Hence, he will not communicate with BizCap based on the list
     you sent last night, and likely not at all, given the fact that the express purpose is to assist in obtaining
     refinancing. Regardless of whether refinancing would benefit Mr. Lester and the Bank, the order simply does not allow
     him to undertake the "business consulting" role he is being asked to take. Provided the Receiver was willing to
     undertake such a role (he is not), it would require that the order be modified to authorize him to do so, and likely would
     require that the receivership be expanded to what essentially would be an equity receivership, with the receiver taking
     over the entirety of Mr. Lester's operations'

     What should have been a one to two week process to get the information has now taken a month. I have delayed filing
     a status report or initiating any contempt proceedings until after the Receiver meets with Mr. Lester tomorrow to give
     Mr. Lester a final opportunity to comply with the order and the Receiver's requests for information. I plan to file the
     report on Friday so the court has time to review it prior to the July 29 hearing, which the Receiver and I will attend as
     requested by the court. Please make sure Mr. Lester provides the requested (it's really a demand, but I prefer to be
     more cordial) account information when the Receiver is in Dixon Wednesday and Thursday'

     Chris



     Christopher E. Seymour, Esq.
     GItMORE MAGNESS JANISSE, a Professional Corporation
     7789 N. lngram Avenue, Ste. 105
     Fresno, CA 93711

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                                                                                                                    74
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     lrene Willard

     From:                              Wi I I iams, Jennifer <jwil I iams@downeybrand.com >
     Sent:                              Tuesday, luly 21, 2020 11:08 AM
     To:                                Christopher E. Seymour
     Cc:                                'Douglas Kraft'; Don Howell (Dghowell@Protonmail.com); lrene Willard; Collier, Andrew
     Subject:                           RE: Lester receivership




     HiChris,

     We'll have to agree to disagree. I can see the cgnversation is not going anywhere.

     Mr. Lester will have the bank statements for the receiver when they meet this week.       I   will let Mr. Lester know about the
     demand for back-up documentation going back to 6/12.

     Jennifer L. Williams


     DOW[*            EY BRAN D
     Downey Brand LLP
     3425 Brookside Road, Suite A
     Stockton, CA 95219
     209.473.6450 Main
      209.472.3918 Direct
      209.472.3919 Fax
     jwill iams@downeybrand. com
     www.downevbrand.com



     From: Christopher   E. Seymour   <Cseymour@gmlegal'net>
     Sent: Tuesday, July 2I,2020 11:01 AM
     To: Williams, Jennifer <jwilliams@downeybrand'com>
     Cc: 'Douglas Kraft' <dkraft@douglaskraft.com>; Don Howell (Dghowell@Protonmail.com) <Dghowell@Protonmail.com>;
     lrene Willard <iwillard@gmlegal.net>; Collier, Andrew <acollier@DowneyBrand.com>
     Subject: RE: Lester receivershiP

     Jenny,

     Thank you for the clarification on the Bank of the West account. Your client received at least two letters from the
     Receiver demanding an accounting of all bank accounts, and two requests from me through you and Andrew to
     comply. The purpose is to ensure that no cash collateral applicable to the Receivership was transferred into the other
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     completely outside the duties of the receiver as set forth in the order.
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                           I                                      PROOF OF SERVICE
                          2                          First Northern*:1{<":'rtsrult           Lester' et ar'
                           a
                                                                                       l'd
                          J
                                STATE OF CALIFORNIA, COUNTY OF FRESNO
                          4
                                       At the time of service, I was over 18 years of age and not aparty to this action. I
                           5    am employed in the County of Fresno, State of California. My business address is Post
                                Office Box 28907, Fresno, CA93729-8907.
                          6
                                     On July 24,2020,I served true copies of the following document(s) described as
                          7     FIRST REPORT OF RECEIVER on the interested parties in this action as follows:
                           8                               SEE ATTACHED SERVICE LIST

                          9        BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed
                           to the persons at the addresses listed in the Service List and placed the envelope for
                        10 collection and mailing, following our ordinary business practices. I am readily familiar
                           with Gilmore Magness Janisse's practice for collecting and processing coffespondence for
                        11 mailing. On the same day that the correspondence is placed for collection and mailing, it
                           is deposited in the ordinary course of business with the United States Postal Service, in a
                        t2 sealed envelope with postage fully prepaid.
                        t3         BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
                           document(s) to be sent from e-mail address iwillard@gmlegal.net to the persons at the e-
                        t4 mail addresses listed in the Service List. I did not re-eive, within a reasonable time after
                           the transmission, any electronic message or other indication that the transmission was
                        15 unsuccessful.

                        I6             I declare under penalty of perjury under the laws of the State of California that the
                                foregoing is true and correct.
                        T7
                                       Executed on July 24,2020, at Fresno, California.
                        l8
                        t9
                        20                                                     Irene Willard
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CILMORE MAGNESS JANISSE
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    POST OFFTCE BOX 28907
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                               1                                      SERVICE LIST
                                                       First Northern Bank v. Russell W. Lester, et al.
                               2                                     Case No. FCS054698
                               a
                               J   VIA EMAIL ONLY                               Andrew L. Collier
                                   Douglas Kraft                                DOWNEY BRAND LLP
                               4   KRAFT LAW                                    621 Capitol Mall, 18th Floor
                                   11335 Gold Express Drive, Ste. 125           Sacramento,   CA   95814
                               5   Gold River, CA 95670                         Tel: (916) 444-1000
                                   Tel: (916) 880-3040                          Fax: (916) 444-2100
                               6   Fax: (916) 880-3045                          Email : acollier@downeybrand. com
                                   Emai : dkr aft(d.dou sl askraft. com
                                        1

                               7
                                   Jennifer L. Williams
                               8   DOWNEY BRAND LLP
                                   3425 Brookside Road, Ste. A
                               9   Stockton, CA 95219
                                   Tel: (209) 473-6450
                          10       Fax: (209) 472-3919
                                   Email : iwilliams(Edownevbrand.com
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                 EXHIBIT F


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                                        DRF - 13 Week Cash Budget - - September through November - v.08.30.2020 Rev.xlsx




                                                                                                              September Cash Flow

                                     Week Ending           9/4/2020              9/11/2020            9/18/2020            9/25/2020          Sept          Sept             Sept
                                                           Forecast              Forecast             Forecast             Forecast         Forecast       Budget          Variance
        OPERATING STATISTICS

          Walnuts Harvested (lbs)                                                                                                                                  -
          Walnuts Purchaed (lbs)                                                                                                                                   -
          Walnuts Processed (lbs)                                                                                                                                  -
          In-Shell Shipped (lbs)                                                      500,000              695,648              500,000                      1,695,648
          Meats Shipped (lbs)                                                         300,000              300,000               10,000                        610,000

        ENDING INVENTORY (lbs)

          In-Shell                                             1,695,648            1,195,648              500,000                  -                              -
          Processed Meats                                      2,026,484            1,726,484            1,426,484            1,416,484                      1,416,484
                                              Total            3,722,132            2,922,132            1,926,484            1,416,484                      1,416,484

        ENDING INVENTORY ($'s)

          In-Shell @0.65 (blended)                     $       1,102,171     $        777,171     $        325,000     $            -                  $           -
          Processed Meats @1.28 (blended)              $       2,593,900     $      2,209,900     $      1,825,900     $      1,813,100                $     1,813,100
                                               Total   $       3,696,071     $      2,987,071     $      2,150,900     $      1,813,100                $     1,813,100

        INVOICES PRODUCED

          In-Shell                                     $              -      $        325,000     $        452,171     $        325,000                $     1,102,171
          Processed Meats                              $              -      $        384,000     $        384,000     $         40,000                $       808,000
                                               Total   $              -      $        709,000     $        836,171     $        365,000                $     1,910,171

        ACCOUNTS RECEIVABLE

            Beginning Balance                          $         200,000     $        120,000     $        730,344     $      1,526,515                $       200,000
            Add: Invoices                              $              -      $        709,000     $        836,171     $        365,000                $     1,910,171
            Less: Receipts                             $        ( 80,000 )   $       ( 98,656 )   $       ( 40,000 )   $       ( 73,000 )              $     ( 291,656 )
                                     Ending Balance    $         120,000     $        730,344     $      1,526,515     $      1,818,515                $     1,818,515




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                                           DRF - 13 Week Cash Budget - - September through November - v.08.30.2020 Rev.xlsx




                                                                                                                  September Cash Flow

                                      Week Ending              9/4/2020               9/11/2020           9/18/2020           9/25/2020         Sept          Sept          Sept
                                                               Forecast               Forecast            Forecast            Forecast        Forecast       Budget       Variance
        CASH RECEIPTS
         Operating Receipts
            In-Shell                                       $             -        $            -      $            -      $            -                 $          -
            Processed Meats                                $          80,000      $         40,000    $         40,000    $         40,000               $      200,000
            Hay                                            $             -        $            -      $            -      $         33,000               $       33,000
            PPP/CFAP/FSA/EIDL                              $             -        $            -      $            -      $            -                 $          -
            Custom Work                                    $             -        $            -      $            -      $            -                 $          -
            Insurance Claims                               $             -        $            -      $            -      $            -                 $          -
            Patronage Dividends                            $             -        $            -      $            -      $            -                 $          -
            Reimbursed Expenses                            $             -        $            -      $            -      $            -                 $          -
            Rents                                          $             -        $            -      $            -      $            -                 $          -
            From/(To) Receiver's Account                   $             -        $         58,656    $            -      $            -                 $       58,656
            Other -soil test                               $             -        $            -      $            -      $            -                 $          -
                         TOTAL CASH RECEIPTS               $          80,000      $         98,656    $         40,000    $         73,000               $      291,656

         CASH DISBURSEMENTS
          Labor & Related
            Wages                                          $          45,200                          $         45,200                                   $       90,400
            Federal Payroll Taxes                          $          10,500                          $         10,500                                   $       21,000
            State Payroll Taxes and Garnishments           $           1,750                          $          1,750                                   $        3,500
            Workers Comp Insurance                         $           6,000                          $          6,000                                   $       12,000
            Employee Benefits/Medical                      $              50                          $             50                                   $          100
            Owner Draws                                    $             -                            $            -                                     $          -
            Other                                          $             -        $               -   $            -      $               -              $          -
                                                   Total   $          63,500      $               -   $         63,500    $               -              $      127,000

          Farming Expenses
            Contract Labor                                 $              7,000   $            -      $            -      $            -                 $        7,000
            Equipment Rent                                                        $            750    $            -      $            -                 $          750
            Fertilizer and Compost                                                $            -      $            -      $            -                 $          -
            Freight and Trucking                                                  $            -      $            -      $            -                 $          -
            Fuel                                                                  $          1,875    $          1,875    $          3,750               $        7,500
            Irrigation                                                            $            250    $            250    $            500               $        1,000
            Organic expense                                                       $              63   $              63   $            125               $          250
            Property and Use Taxes                                                $            -      $            -      $            -                 $          -
            Repairs and Maint                                                     $          3,125    $          3,125    $          6,250               $       12,500
            Seed                                                                  $            -      $            -      $            -                 $          -
            Spraying                                                              $            -      $            -      $            -                 $          -
            Supplies                                                              $            -      $            -      $            -                 $          -
            Utilities                                                             $            -      $            -      $            -                 $          -
            Other                                          $                -     $          5,000    $          5,000    $          5,000               $       15,000
                                                   Total   $              7,000   $         11,063    $         10,313    $         15,625               $       44,000
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                                                                                                             September Cash Flow

                                        Week Ending         9/4/2020           9/11/2020             9/18/2020             9/25/2020        Sept          Sept             Sept
                                                            Forecast           Forecast              Forecast              Forecast       Forecast       Budget          Variance

          Processing Expenses
            Comissions                                                                                                                               $             -
            Equipment Rent                                                 $               -     $               -     $            -                $             -
            Freight and Trucking                                           $               -     $               -     $            -                $             -
            Inspection Fees                                                $               625   $               625   $          1,250              $           2,500
            Organic Expense                                                $               -     $               -     $            -                $             -
            Packaging Materials                                            $               125   $               125   $            250              $             500
            Promotion                                                      $               -     $               -     $            -                $             -
            Property and Use Taxes                                                                                     $            -                $             -
            Repairs and Maint                                              $               625   $               625   $          1,250              $           2,500
            Supplies                                                       $               375   $               375   $            750              $           1,500
            Uniforms and Sanitation                                        $               850   $               850   $          1,000              $           2,700
            Utilities                                                                                                  $          2,000              $           2,000
            Electricity - current usage                                                                                $            -                $             -
            Electricity - Deposit                                                                                      $            -                $             -
            Walnut Dues and Assessments                                    $            250      $            250      $            500              $           1,000
            Walnut Grower Assessments                                      $            -        $            -        $            -                $             -
            Walnut Purchases                                               $            -        $            -        $            -                $             -
            Other                                                          $          2,500      $          2,500      $          2,500              $           7,500
                                                Total   $              -   $          5,350      $          5,350      $          9,500              $       20,200

          Administrative Expenses
            Automobile                                                     $               -     $               -     $            250              $             250
            Charitable Cont                                                $               -     $               -     $            -                $             -
            Dues and Subscript                                             $               -     $               -     $            -                $             -
            Employee Education                                             $               -     $               -     $            -                $             -
            Equipment Rent                                                 $               -     $               -     $            -                $             -
            Insurance                                                                                                  $          9,250              $           9,250
            Interest                                                       $               -     $               -     $            -                $             -
            Late Charges                                                   $               -     $               -     $            -                $             -
            Professional (ordinary business)                               $               -     $               -     $          2,500              $           2,500
            Licenses and Permits                                           $               -     $               -     $          2,000              $           2,000
            Office Expenses/Telephone                                      $               -     $               -     $            -                $             -
            Security                                                                                                   $          1,000              $           1,000
            Travel and Entertainment                                       $               -     $               -     $          1,250              $           1,250
            Other                                                          $               125   $               125   $            250              $             500
                                                Total   $              -   $               125   $               125   $         16,500              $       16,750




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                                                                                                                   September Cash Flow

                                       Week Ending              9/4/2020               9/11/2020           9/18/2020           9/25/2020           Sept          Sept            Sept
                                                                Forecast               Forecast            Forecast            Forecast          Forecast       Budget         Variance

          Other Operating Disbursements
            Building Construction and Related                                      $               -   $               -   $               -                $            -
            Land and Irrigation Improvements                                       $               -   $               -   $               -                $            -
            Trees                                                                  $               -   $               -   $               -                $            -
            Equipment Purchases                                                    $               -   $               -   $               -                $            -
            Other                                                                  $               -   $               -   $               -                $            -
                                                    Total   $                -     $               -   $               -   $               -                $            -

          Financing Expenses
            Bank Fees                                                                                                      $               650              $            650
            Prudentuial Interest                                                   $               -   $               -   $               -                $            -
              Prudential Loan # 717611678                                                                                                                   $            -
              Prudential Loan # 717611843                                                                                                                   $            -
            FNB (Payment for Adequate Protection)           $                -     $               -   $               -   $               -                $            -
                                                    Total   $                -     $               -   $               -   $               650              $            650

          Professional (Restructuring)
            Debtor Attorneys                                                                                                                                $            -
            Debtor Financial Advisor                                                                                                                        $            -
            Debtor CPA                                                                                                                                      $            -
            Creditor's Committee                                                                                                                            $            -
            US Trustee Fees                                                                                                                                 $            -
            Other                                           $                -     $               -   $               -   $               -                $            -
                                                    Total   $                -     $               -   $               -   $               -                $            -



        TOTAL CASH DISBURSEMENTS                            $          70,500      $         16,538    $         79,288    $         42,275                 $      208,600



        NET CASH FLOW

        NET CASH FLOW                                       $              9,500   $         82,119    $       ( 39,288 ) $          30,725                 $       83,056
                              Cumulative Net Cash Flow      $              9,500   $         91,619    $         52,331 $            83,056                 $       83,056

        CASH (BOOK) BALANCE

            Beginning Book Balance                          $        182,404       $        191,904    $        274,023 $           234,735                 $      182,404
            Add: Net Cash Flow                              $          9,500       $         82,119    $       ( 39,288 ) $          30,725                 $       83,056
        ENDING BOOK BALANCE                                 $        191,904       $        274,023    $        234,735    $        265,460                 $      265,460

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                                                                                                                     October Cash Flow

                              Week Ending           10/2/2020            10/9/2020            10/16/2020            10/23/2020            10/30/2020        Oct           Oct                 Oct
                                                    Forecast             Forecast             Forecast              Forecast              Forecast        Forecast       Budget             Variance
  OPERATING STATISTICS

   Walnuts Harvested (lbs)                                25,000              156,200               156,200               156,200              156,200                      649,800
   Walnuts Purchaed (lbs)                                    -                    -                     -                     -                    -                            -
   Walnuts Processed (lbs)                                                                                                                                                      -
   In-Shell Shipped (lbs)                                                                                                                                                       -
   Meats Shipped (lbs)                                    10,000               12,000                14,000                15,000                16,000                      67,000

  ENDING INVENTORY (lbs)

   In-Shell                                               25,000              181,200               337,400               493,600               649,800                      649,800
   Processed Meats                                     1,406,484            1,394,484             1,380,484             1,365,484             1,349,484                    1,349,484
                                       Total           1,431,484            1,575,684             1,717,884             1,859,084             1,999,284                    1,999,284

  ENDING INVENTORY ($'s)

   In-Shell @0.65 (blended)                     $         16,250     $        117,780     $         219,310     $         320,840     $         422,370              $       422,370
   Processed Meats @1.28 (blended)              $      1,800,300     $      1,784,940     $       1,767,020     $       1,747,820     $       1,727,340              $     1,727,340
                                        Total   $      1,816,550     $      1,902,720     $       1,986,330     $       2,068,660     $       2,149,710              $     2,149,710

  INVOICES PRODUCED

   In-Shell                                                                                                                                                          $          -
   Processed Meats                              $         40,000     $         48,000     $          56,000     $          60,000     $          64,000              $      268,000
                                        Total   $         40,000     $         48,000     $          56,000     $          60,000     $          64,000              $      268,000

  ACCOUNTS RECEIVABLE

     Beginning Balance                          $      1,818,515     $      1,808,515     $       1,197,515     $         417,344     $        112,344               $     1,818,515
     Add: Invoices                              $         40,000     $         48,000     $           56,000    $           60,000    $         64,000               $       268,000
     Less: Receipts                             $       ( 50,000 )   $      ( 659,000 )   $       ( 836,171 )   $       ( 365,000 )   $         40,000               $   ( 1,870,171 )
                              Ending Balance    $      1,808,515     $      1,197,515     $          417,344    $          112,344    $        216,344               $        216,344




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                                                                                                                      October Cash Flow

                                Week Ending             10/2/2020           10/9/2020           10/16/2020           10/23/2020           10/30/2020        Oct           Oct                   Oct
                                                        Forecast            Forecast            Forecast             Forecast             Forecast        Forecast       Budget               Variance
  CASH RECEIPTS
   Operating Receipts
     In-Shell                                       $         25,000    $        300,000    $        452,171     $        325,000     $             -                      1,102,171
     Processed Meats                                $         25,000    $        359,000    $        384,000     $         40,000     $          40,000                      848,000
     Hay                                            $            -      $            -      $            -       $            -       $             -                            -
     PPP/CFAP/FSA/EIDL                              $            -      $            -      $            -       $            -       $             -                            -
     Custom Work                                    $            -      $            -      $            -       $            -       $             -                            -
     Insurance Claims                               $            -      $            -      $            -       $            -       $             -                            -
     Patronage Dividends                            $            -      $            -      $            -       $            -       $             -                            -
     Reimbursed Expenses                            $            -      $            -      $            -       $            -       $             -                            -
     Rents                                          $            -      $            -      $            -       $            -       $             -                            -
     From/(To) Receiver's Account                   $            -      $            -      $            -       $            -       $             -                            -
     Other -soil test                               $            -      $            -      $            -       $            -       $             -                            -
                  TOTAL CASH RECEIPTS               $         50,000    $        659,000    $        836,171     $        365,000     $          40,000              $     1,950,171

  CASH DISBURSEMENTS
   Labor & Related
     Wages                                          $         45,200                        $          45,200                         $          45,200              $      135,600
     Federal Payroll Taxes                          $         10,500                        $          10,500                         $          10,500              $       31,500
     State Payroll Taxes and Garnishments           $          1,750                        $           1,750                         $           1,750              $        5,250
     Workers Comp Insurance                         $          6,000                        $           6,000                         $           6,000              $       18,000
     Employee Benefits/Medical                      $             50                        $              50                         $              50              $          150
     Owner Draws                                    $            -                          $             -                           $             -                $          -
     Other                                          $            -      $               -   $             -      $                -   $             -                $          -
                                            Total   $         63,500    $               -   $          63,500    $                -   $          63,500              $      190,500

   Farming Expenses
     Contract Labor                                 $         14,000    $         14,000    $          14,000    $          14,000    $          14,000              $          70,000
     Equipment Rent                                 $            -      $            -      $             -      $             -      $             -                $             -
     Fertilizer and Compost                         $            -      $          8,000    $           4,000    $           4,000    $           4,000              $          20,000
     Freight and Trucking                           $            -      $            -      $             -      $             -      $             -                $             -
     Fuel                                           $            -      $          3,000    $           1,500    $           1,500    $           1,500              $           7,500
     Irrigation                                     $            200    $            200    $             200    $             200    $             200              $           1,000
     Organic expense                                                                                                                  $             250              $             250
     Property and Use Taxes                         $               -   $               -   $                -   $                -   $             -                $             -
     Repairs and Maint                                                                                                                $          12,500              $          12,500
     Seed                                           $            -      $            -      $             -      $             -      $             -                $             -
     Spraying                                       $         60,000    $            -      $             -      $             -      $             -                $          60,000
     Supplies                                       $            -      $            -      $             -      $             -      $             -                $             -
     Utilities                                      $            -      $            -      $             -      $             -      $             -                $             -
     Other                                          $            -      $          3,000    $           3,000    $           3,000    $           3,000              $          12,000
                                            Total   $         74,200    $         28,200    $          22,700    $          22,700    $          35,450              $      183,250
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                                                                                                                      October Cash Flow

                                 Week Ending        10/2/2020             10/9/2020             10/16/2020           10/23/2020           10/30/2020         Oct           Oct                   Oct
                                                    Forecast              Forecast              Forecast             Forecast             Forecast         Forecast       Budget               Variance

   Processing Expenses
     Comissions                                                                             $          18,500                                                         $          18,500
     Equipment Rent                             $               -     $               -     $             -      $                -   $             750               $             750
     Freight and Trucking                       $               -     $               -     $             -      $                -   $             -                 $             -
     Inspection Fees                                                                                                                  $           2,500               $           2,500
     Organic Expense                            $               -     $            -        $                -   $                -   $             -                 $             -
     Packaging Materials                        $               -     $            -        $                -   $                -   $             500               $             500
     Promotion                                  $               -     $            -        $                -   $                -   $             -                 $             -
     Property and Use Taxes                                           $          1,000                                                $             -                 $           1,000
     Repairs and Maint                          $               -     $            -        $              -     $             -      $           2,500               $           2,500
     Supplies                                   $               -     $          1,200      $              -     $           1,200    $             -                 $           2,400
     Uniforms and Sanitation                    $               400   $            400      $              400   $             400    $             400               $           2,000
     Utilities                                                                                                                        $           2,000               $           2,000
     Electricity - current usage                $               -                                                                     $          35,000               $          35,000
     Electricity - Deposit                      $               -     $         23,000                                                                                $          23,000
     Walnut Dues and Assessments                $               200   $            300      $              400   $              500   $              600              $           2,000
     Walnut Grower Assessments                  $               -     $            -        $              -     $              -     $              -                $             -
     Walnut Purchases                           $               -     $            -        $              -     $              -     $              -                $             -
     Other                                      $               -     $            -        $              500   $              500   $              500              $           1,500
                                        Total   $               600   $         25,900      $          19,800    $           2,600    $          44,750               $          93,650

   Administrative Expenses
     Automobile                                 $               100   $               100   $              100   $              100   $             100               $             500
     Charitable Cont                            $               -     $               -     $              -     $              -     $             -                 $             -
     Dues and Subscript                         $                50   $                50   $               50   $               50   $              50               $             250
     Employee Education                         $               -     $               -     $              -     $              -     $             -                 $             -
     Equipment Rent                             $               -     $               -     $              -     $              -     $             -                 $             -
     Insurance                                                                                                                        $          18,000               $          18,000
     Interest                                   $            -        $               -     $              -     $              -     $             -                 $             -
     Late Charges                               $            -        $               -     $              -     $              -     $             -                 $             -
     Professional (ordinary business)           $            500      $               500   $              500   $              500   $             500               $           2,500
     Licenses and Permits                       $            -        $               -     $              -     $              -     $             -                 $             -
     Office Expenses/Telephone                  $          1,250      $               -     $              500   $              -     $             -                 $           1,750
     Security                                                                                                                         $           1,000               $           1,000
     Travel and Entertainment                   $               500   $               500   $              500   $              500   $             500               $           2,500
     Other                                      $               -     $               -     $              500   $              500   $             500               $           1,500
                                        Total   $          2,400      $          1,150      $           2,150    $           1,650    $          20,650               $          28,000




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                                                                                                                       October Cash Flow

                                Week Ending              10/2/2020           10/9/2020           10/16/2020           10/23/2020           10/30/2020          Oct           Oct                  Oct
                                                         Forecast            Forecast            Forecast             Forecast             Forecast          Forecast       Budget              Variance

   Other Operating Disbursements
     Building Construction and Related               $               -   $               -   $             -      $             -      $             -                  $            -
     Land and Irrigation Improvements                $               -   $               -   $             -      $             -      $             -                  $            -
     Trees                                           $               -   $               -   $             -      $             -      $             -                  $            -
     Equipment Purchases                             $               -   $               -   $           2,500    $           2,500    $           2,500                $          7,500
     Other                                           $               -   $               -   $             -      $             -      $             -                  $            -
                                             Total   $               -   $               -   $           2,500    $           2,500    $           2,500                $          7,500

   Financing Expenses
     Bank Fees                                                                                                                         $              650               $          650
     Prudentuial Interest                            $            -      $               -   $                -   $                -   $              -                 $          -
       Prudential Loan # 717611678                   $         81,738    $               -   $                -   $                -   $              -                 $       81,738
       Prudential Loan # 717611843                   $         80,625    $               -   $                -   $                -   $              -                 $       80,625
     FNB (Payment for Adequate Protection)           $            -      $               -   $                -   $                -   $              -                 $          -
                                             Total   $        162,363    $               -   $                -   $                -   $              650               $      163,013

   Professional (Restructuring)                      $               -   $               -   $                -   $                -   $              -
     Debtor Attorneys                                $               -   $               -   $                -   $                -   $              -                 $            -
     Debtor Financial Advisor                        $               -   $               -   $                -   $                -   $              -                 $            -
     Debtor CPA                                      $               -   $               -   $                -   $                -   $              -                 $            -
     Creditor's Committee                            $               -   $               -   $                -   $                -   $              -                 $            -
     US Trustee Fees                                                                                                                   $              975               $            975
     Other                                           $               -   $               -   $                -   $                -   $              -                 $            -
                                             Total   $               -   $               -   $                -   $                -   $              975               $            975



  TOTAL CASH DISBURSEMENTS                           $        303,063    $         55,250    $        110,650     $          29,450    $         168,475                $      666,888



  NET CASH FLOW

  NET CASH FLOW                                      $      ( 253,063 ) $         603,750    $         725,521    $         335,550    $       ( 128,475 )              $     1,283,283
                       Cumulative Net Cash Flow      $      ( 170,007 ) $         433,743    $       1,159,264    $       1,494,814    $       1,366,339                $     1,366,339

  CASH (BOOK) BALANCE

     Beginning Book Balance                          $        265,460 $            12,397    $        616,147     $       1,341,669    $       1,677,219                $       265,460
     Add: Net Cash Flow                              $      ( 253,063 ) $         603,750    $        725,521     $         335,550    $       ( 128,475 )              $     1,283,283
  ENDING BOOK BALANCE                                $         12,397    $        616,147    $       1,341,669    $       1,677,219    $       1,548,744                $     1,548,744

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                                                                                                                 November Cash Flow

                                     Week Ending           11/6/2020            11/13/2020            11/20/2020            11/27/2020        Nov           Nov              Nov
                                                           Forecast             Forecast              Forecast              Forecast        Forecast       Budget          Variance
         OPERATING STATISTICS

          Walnuts Harvested (lbs)                               156,200               156,200               156,200                                            468,600
          Walnuts Purchaed (lbs)                                    -                     -                     -                     -                            -
          Walnuts Processed (lbs)                                                      28,000                30,000                20,000                       78,000
          In-Shell Shipped (lbs)                                                                                                                                   -
          Meats Shipped (lbs)                                    17,000                18,000                19,000                20,000                       74,000

         ENDING INVENTORY (lbs)

          In-Shell                                              806,000               962,200             1,118,400             1,118,400                    1,118,400
          Processed Meats                                     1,332,484             1,342,484             1,353,484             1,353,484                    1,353,484
                                              Total           2,138,484             2,304,684             2,471,884             2,471,884                    2,471,884

         ENDING INVENTORY ($'s)

          In-Shell @0.65 (blended)                     $        523,900     $         625,430     $         726,960     $         726,960              $       726,960
          Processed Meats @1.28 (blended)              $      1,705,580     $       1,718,380     $       1,732,460     $       1,732,460              $     1,732,460
                                               Total   $      2,229,480     $       2,343,810     $       2,459,420     $       2,459,420              $     2,459,420

         INVOICES PRODUCED

          In-Shell                                                                                                                                     $           -
          Processed Meats                              $         68,000     $          72,000     $          76,000     $          80,000              $       296,000
                                               Total   $         68,000     $          72,000     $          76,000     $          80,000              $       296,000

         ACCOUNTS RECEIVABLE

            Beginning Balance                          $        216,344     $         236,344     $         204,344     $        172,344               $       216,344
            Add: Invoices                              $         68,000     $          72,000     $           76,000    $         80,000               $       296,000
            Less: Receipts                             $       ( 48,000 )   $       ( 104,000 )   $       ( 108,000 )   $         40,000               $     ( 220,000 )
                                     Ending Balance    $        236,344     $         204,344     $          172,344    $        292,344               $        292,344




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                                                                                                                   November Cash Flow

                                       Week Ending             11/6/2020           11/13/2020           11/20/2020           11/27/2020         Nov           Nov              Nov
                                                               Forecast            Forecast             Forecast             Forecast         Forecast       Budget          Variance
         CASH RECEIPTS
          Operating Receipts
            In-Shell                                       $            -      $          56,000    $          60,000    $          64,000                      180,000
            Processed Meats                                $         48,000    $          48,000    $          48,000    $          48,000                      192,000
            Hay                                                                                                                                                     -
            PPP/CFAP/FSA/EIDL                                                                                                                                       -
            Custom Work                                                                                                                                             -
            Insurance Claims                                                                                                                                        -
            Patronage Dividends                                                                                                                                     -
            Reimbursed Expenses                                                                                                                                     -
            Rents                                                                                                                                                   -
            From/(To) Receiver's Account                                                                                                                            -
            Other -soil test                               $               -   $                -   $                -   $                -                         -
                         TOTAL CASH RECEIPTS               $         48,000    $        104,000     $        108,000     $        112,000                $      372,000

         CASH DISBURSEMENTS
          Labor & Related
            Wages                                                              $          45,200                         $          45,200               $       90,400
            Federal Payroll Taxes                                              $          10,500                         $          10,500               $       21,000
            State Payroll Taxes and Garnishments                               $           1,750                         $           1,750               $        3,500
            Workers Comp Insurance                                             $           6,000                         $           6,000               $       12,000
            Employee Benefits/Medical                                          $              50                         $              50               $          100
            Owner Draws                                                        $             -                           $             -                 $          -
            Other                                          $               -   $             -      $                -   $             -                 $          -
                                                   Total   $               -   $          63,500    $                -   $          63,500               $      127,000

           Farming Expenses
            Contract Labor                                                                                               $             -                 $             -
            Equipment Rent                                                                          $              750   $             -                 $             750
            Fertilizer and Compost                                                                                       $             -                 $             -
            Freight and Trucking                                                                                         $             -                 $             -
            Fuel                                                                                                         $           1,047               $           1,047
            Irrigation                                                                                                   $             -                 $             -
            Organic expense                                                                                              $             -                 $             -
            Property and Use Taxes                                                                                       $             -                 $             -
            Repairs and Maint                                                                       $          14,000    $             226               $          14,226
            Seed                                                                                                         $             -                 $             -
            Spraying                                                                                                     $             -                 $             -
            Supplies                                                                                                     $             -                 $             -
            Utilities                                                                                                    $             -                 $             -
            Other                                          $          2,500    $           2,500    $           2,500    $           2,500               $          10,000
                                                   Total   $          2,500    $           2,500    $          17,250    $           3,773               $          26,023
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                                                                                                                  November Cash Flow

                                        Week Ending         11/6/2020             11/13/2020           11/20/2020           11/27/2020         Nov           Nov              Nov
                                                            Forecast              Forecast             Forecast             Forecast         Forecast       Budget          Variance

           Processing Expenses
            Comissions                                  $               563   $              563   $              563   $             563               $           2,250
            Equipment Rent                                                                                              $             750               $             750
            Freight and Trucking                                                                                        $           1,200               $           1,200
            Inspection Fees                                                                                             $             900               $             900
            Organic Expense                             $               -     $                -   $                -   $             -                 $             -
            Packaging Materials                                                                                         $             500               $             500
            Promotion                                                                                                   $             250               $             250
            Property and Use Taxes                      $            250      $             250    $             250    $             250               $           1,000
            Repairs and Maint                           $            -        $           3,125    $             -      $             -                 $           3,125
            Supplies                                    $          1,000      $           1,000    $           1,000    $           1,000               $           4,000
            Uniforms and Sanitation                     $            500      $             500    $             500    $             500               $           2,000
            Utilities                                   $            -                                                  $          12,500               $          12,500
            Electricity - current usage                                                                                 $          25,000               $          25,000
            Electricity - Deposit                                                                                                                       $             -
            Walnut Dues and Assessments                 $          1,125      $           1,125    $           1,125    $           1,125               $           4,500
            Walnut Grower Assessments                   $            -        $             -      $             -      $             -                 $             -
            Walnut Purchases                            $            -        $             -      $             -      $             -                 $             -
            Other                                       $            125      $             125    $             125    $             125               $             500
                                                Total   $          3,563      $           6,688    $           3,563    $          44,663               $          58,475

           Administrative Expenses
            Automobile                                  $               -     $              31    $             -      $              125              $             156
            Charitable Cont                             $               -     $             -      $             -      $              -                $             -
            Dues and Subscript                          $               -     $              16    $              82    $               63              $             160
            Employee Education                          $               -     $             -      $             -      $              -                $             -
            Equipment Rent                              $               -     $             -      $             -      $              -                $             -
            Insurance                                   $               -     $           1,125    $          17,500    $              -                $          18,625
            Interest                                    $               -     $             -      $             -      $              -                $             -
            Late Charges                                $               -     $             -      $             -      $              -                $             -
            Professional (ordinary business)            $               -     $             156    $             -      $              625              $             781
            Licenses and Permits                        $               -     $             361    $             -      $              -                $             361
            Office Expenses/Telephone                   $               -     $             156    $             -      $              625              $             781
            Security                                    $               -     $               63   $             -      $              250              $             313
            Travel and Entertainment                    $               -     $             156    $             -      $              625              $             781
            Other                                       $               -     $              31    $             -      $              125              $             156
                                                Total   $               -     $           2,095    $          17,582    $           2,438               $          22,115




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                                                                                                                      November Cash Flow

                                       Week Ending              11/6/2020           11/13/2020             11/20/2020           11/27/2020          Nov           Nov              Nov
                                                                Forecast            Forecast               Forecast             Forecast          Forecast       Budget          Variance

           Other Operating Disbursements
            Building Construction and Related               $               -   $              -       $                -   $             -                  $            -
            Land and Irrigation Improvements                $               -   $              -       $                -   $             -                  $            -
            Trees                                           $               -   $              -       $                -   $             -                  $            -
            Equipment Purchases                             $               -   $              313     $                -   $           1,250                $          1,563
            Other                                           $               -   $              -       $                -   $             -                  $            -
                                                    Total   $               -   $              313     $                -   $           1,250                $          1,563

           Financing Expenses
            Bank Fees                                       $               -   $                 41   $                -   $             163                $           203
            Prudentuial Interest                            $               -   $                -     $                -   $             -                  $           -
              Prudential Loan # 717611678                   $               -   $                -     $                -   $             -                  $           -
              Prudential Loan # 717611843                   $               -   $                -     $                -   $             -                  $           -
            FNB (Payment for Adequate Protection)           $               -   $                -     $                -   $         500,000                $       500,000
                                                    Total   $               -   $                 41   $                -   $         500,163                $       500,203

           Professional (Restructuring)
            Debtor Attorneys                                                                                                $         150,000                $       150,000
            Debtor Financial Advisor                                                                                        $          40,000                $        40,000
            Debtor CPA                                                                                                      $          10,000                $        10,000
            Creditor's Committee                                                                                            $          50,000                $        50,000
            US Trustee Fees                                                                                                 $             -                  $           -
            Other                                           $               -   $                -     $                -   $             -                  $           -
                                                    Total   $               -   $                -     $                -   $         250,000                $       250,000



         TOTAL CASH DISBURSEMENTS                           $          6,063    $          75,136      $          38,395    $         865,786                $       985,379



         NET CASH FLOW

         NET CASH FLOW                                      $         41,938    $          28,864      $          69,606    $       ( 753,786 )              $     ( 613,379 )
                              Cumulative Net Cash Flow      $      1,408,277    $       1,437,141      $       1,506,746    $         752,961                $       752,961

         CASH (BOOK) BALANCE

            Beginning Book Balance                          $      1,548,744    $       1,590,681      $       1,619,545    $       1,689,151                $     1,548,744
            Add: Net Cash Flow                              $         41,938    $          28,864      $          69,606    $       ( 753,786 )              $     ( 613,379 )
         ENDING BOOK BALANCE                                $      1,590,681    $       1,619,545      $       1,689,151    $         935,365                $       935,365

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                                                                                  13- Weeks
                                                                            September thru November
                                                 Week Ending           13 Weeks        13 Weeks         13 Weeks
                                                                       Forecast        Budget           Variance
                    OPERATING STATISTICS

                      Walnuts Harvested (lbs)                                             1,118,400
                      Walnuts Purchaed (lbs)                                                    -
                      Walnuts Processed (lbs)                                                78,000
                      In-Shell Shipped (lbs)                                              1,695,648
                      Meats Shipped (lbs)                                                   751,000

                    ENDING INVENTORY (lbs)

                      In-Shell                                                            1,118,400
                      Processed Meats                                                     1,353,484
                                                          Total                           2,471,884

                    ENDING INVENTORY ($'s)

                      In-Shell @0.65 (blended)                                     $        726,960
                      Processed Meats @1.28 (blended)                              $      1,732,460
                                                           Total                   $      2,459,420

                    INVOICES PRODUCED

                      In-Shell                                                     $      1,102,171
                      Processed Meats                                              $      1,372,000
                                                           Total                   $      2,474,171

                    ACCOUNTS RECEIVABLE

                        Beginning Balance                                          $        200,000
                        Add: Invoices                                              $      2,474,171
                        Less: Receipts                                             $    ( 2,381,827 )
                                                 Ending Balance                    $        292,344




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                                                                                     13- Weeks
                                                                               September thru November
                                                  Week Ending             13 Weeks        13 Weeks       13 Weeks
                                                                          Forecast        Budget         Variance
                    CASH RECEIPTS
                     Operating Receipts
                       In-Shell                                                              1,282,171
                       Processed Meats                                                       1,240,000
                       Hay                                                                      33,000
                       PPP/CFAP/FSA/EIDL                                                           -
                       Custom Work                                                                 -
                       Insurance Claims                                                            -
                       Patronage Dividends                                                         -
                       Reimbursed Expenses                                                         -
                       Rents                                                                       -
                       From/(To) Receiver's Account                                             58,656
                       Other -soil test                                                            -
                                    TOTAL CASH RECEIPTS                                      2,613,827

                     CASH DISBURSEMENTS
                      Labor & Related
                       Wages                                                          $       316,400
                       Federal Payroll Taxes                                          $        73,500
                       State Payroll Taxes and Garnishments                           $        12,250
                       Workers Comp Insurance                                         $        42,000
                       Employee Benefits/Medical                                      $           350
                       Owner Draws                                                    $           -
                       Other                                                          $           -
                                                              Total                   $       444,500

                      Farming Expenses
                       Contract Labor                                                 $        77,000
                       Equipment Rent                                                 $         1,500
                       Fertilizer and Compost                                         $        20,000
                       Freight and Trucking                                           $           -
                       Fuel                                                           $        16,047
                       Irrigation                                                     $         2,000
                       Organic expense                                                $           500
                       Property and Use Taxes                                         $           -
                       Repairs and Maint                                              $        39,226
                       Seed                                                           $           -
                       Spraying                                                       $        60,000
                       Supplies                                                       $           -
                       Utilities                                                      $           -
                       Other                                                          $        37,000
                                                              Total                   $       253,273
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                                                                                 13- Weeks
                                                                           September thru November
                                                   Week Ending        13 Weeks        13 Weeks      13 Weeks
                                                                      Forecast        Budget        Variance

                      Processing Expenses
                       Comissions                                                 $        20,750
                       Equipment Rent                                             $         1,500
                       Freight and Trucking                                       $         1,200
                       Inspection Fees                                            $         5,900
                       Organic Expense                                            $           -
                       Packaging Materials                                        $         1,500
                       Promotion                                                  $           250
                       Property and Use Taxes                                     $         2,000
                       Repairs and Maint                                          $         8,125
                       Supplies                                                   $         7,900
                       Uniforms and Sanitation                                    $         6,700
                       Utilities                                                  $        16,500
                       Electricity - current usage                                $        60,000
                       Electricity - Deposit                                      $        23,000
                       Walnut Dues and Assessments                                $         7,500
                       Walnut Grower Assessments                                  $           -
                       Walnut Purchases                                           $           -
                       Other                                                      $         9,500
                                                          Total                   $       172,325

                      Administrative Expenses
                       Automobile                                                 $           906
                       Charitable Cont                                            $           -
                       Dues and Subscript                                         $           410
                       Employee Education                                         $           -
                       Equipment Rent                                             $           -
                       Insurance                                                  $        45,875
                       Interest                                                   $           -
                       Late Charges                                               $           -
                       Professional (ordinary business)                           $         5,781
                       Licenses and Permits                                       $         2,361
                       Office Expenses/Telephone                                  $         2,531
                       Security                                                   $         2,313
                       Travel and Entertainment                                   $         4,531
                       Other                                                      $         2,156
                                                          Total                   $        66,865




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                                                                                      13- Weeks
                                                                                September thru November
                                                  Week Ending              13 Weeks        13 Weeks       13 Weeks
                                                                           Forecast        Budget         Variance

                      Other Operating Disbursements
                       Building Construction and Related                               $           -
                       Land and Irrigation Improvements                                $           -
                       Trees                                                           $           -
                       Equipment Purchases                                             $         9,063
                       Other                                                           $           -
                                                               Total                   $         9,063

                      Financing Expenses
                       Bank Fees                                                       $         1,503
                       Prudentuial Interest                                            $           -
                         Prudential Loan # 717611678                                   $        81,738
                         Prudential Loan # 717611843                                   $        80,625
                       FNB (Payment for Adequate Protection)                           $       500,000
                                                               Total                   $       663,866

                      Professional (Restructuring)
                       Debtor Attorneys                                                $       150,000
                       Debtor Financial Advisor                                        $        40,000
                       Debtor CPA                                                      $        10,000
                       Creditor's Committee                                            $        50,000
                       US Trustee Fees                                                 $           975
                       Other                                                           $           -
                                                               Total                   $       250,975



                    TOTAL CASH DISBURSEMENTS                                           $      1,860,867



                    NET CASH FLOW

                    NET CASH FLOW                                                      $       752,961
                                         Cumulative Net Cash Flow

                    CASH (BOOK) BALANCE

                       Beginning Book Balance                                          $       182,404
                       Add: Net Cash Flow                                              $       752,961
                    ENDING BOOK BALANCE                                                $       935,365

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